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 Attorneys for Plaintiffs, Individually
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   on Behalf of Class Plaintiffs

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 SEAN STOVER, CASSANDRA                     ) Case No. 1:24-cv-307 JAO-BMK
 FAIRALL, MARK PREVOT, EVA                  )
 MARIE ADAM, and RANDY BROCK, )
 individually and on behalf of the Class of )
 all other persons similarly situated,      )
                                            ) FIRST AMENDED CLASS
        Plaintiffs,                         ) ACTION COMPLAINT and
                                            ) SUMMONS
               vs.                          )
                                            )
 COUNTY OF MAUI; MAUI EMER-                 )
 GENCY MANAGEMENT AGENCY                    )
 (“MEMA”); RICHARD T.                       )
 BISSEN JR., in his capacity as “emer-      )
 gency worker” of MEMA; HERMAN              )
 ANDAYA, in his capacity as “emergency )
 worker” of MEMA; MAUI                      )
 DEPARTMENT OF FIRE AND PUBLIC )
 SAFETY; HAWAIIAN ELECTRIC                  )
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 INDUSTRIES, INC.; HAWAIIAN             )
 ELECTRIC COMPANY, INC.;                )
 HAWAII ELECTRIC LIGHT                  )
 COMPANY, INC.; MAUI ELECTRIC           )
 COMPANY, LIMITED; ELLIOT               )
 KAWAIHO’OLANA MILLS, CRYSTAL )
 KAUILANI ROSE, JENNIFER                )
 NOELANI GOODYEAR-KA’OPUA,              )
 MICHELLE KA‘UHANE, and ROBERT )
 K.W.H. NOBRIGA, in their capacities as )
 TRUSTEES OF THE ESTATE OF              )
 BERNICE PAUAHI BISHOP;                 )
 HAWAIIAN TELCOM, INC.;                 )
 HAWAIIAN TELCOM COMMUNICA- )
 TIONS, INC.; SPECTRUM OCEANIC, )
 LLC; and DOE DEFENDANTS 1-100,         )
                                        )
           Defendants.                  )
                                        )

              FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiffs SEAN STOVER, CASSANDRA FAIRALL, MARK PREVOT, EVA

 MARIE ADAM, and RANDY BROCK, individually and on behalf of all others

 similarly situation, by and through their undersigned attorneys, SAMUEL P. KING,

 JR., ROY Y. YEMPUKU and RUSSEL MYRICK, pro hac vice, hereby state for their

 causes of action against Defendants COUNTY OF MAUI (“MAUI”); MAUI

 EMERGENCY MANAGEMENT AGENCY (“MEMA”); RICHARD T. BISSEN

 JR. (“BISSEN”), in his capacity as “emergency worder” of MEMA; HERMAN

 ANDAYA (“ANDAYA”), in his capacity as “emergency worder” of MEMA; MAUI

 DEPARTMENT OF FIRE AND PUBLIC SAFETY (“MFD”); HAWAIIAN
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 ELECTRIC INDUSTRIES, INC. (“HEI”); HAWAIIAN ELECTRIC COMPANY,

 INC. (“HECO”); HAWAII ELECTRIC LIGHT COMPANY, INC. (“HELCO”);

 MAUI       ELECTRIC       COMPANY,           LIMITED     (“MECO”);        ELLIOT

 KAWAIHO’OLANA MILLS, CRYSTAL KAUILANI ROSE, JENNIFER NOELANI

 GOODYEAR-KA’OPUA, MICHELLE KA’UHANE, and ROBERT K.W.H.

 NOBRIGA, in their capacities as TRUSTEES OF THE ESTATE OF BERNICE

 PAUAHI BISHOP (the Trustees hereinafter referred to collectively as “BISHOP

 ESTATE”); HAWAIIAN TELCOM, INC., and                      HAWAIIAN TELCOM

 COMMUNICATIONS INC. ( hereinafter referred to collectively as “HAWAIIAN

 TELCOM”); SPECTRUM OCEANIC. LLC. (“SPECTRUM”); and DOE

 DEFENDANTS 1-100 (“DOE DEFENDANTS”), as follows:

                            PRELIMINARY STATEMENT

       1.    The August 8, 2023, Lahaina wildfire tragedy (sometimes referred to

 herein as “the Lahaina wildfire”) should never have happened. The Lahaina wildfire

 was NOT an Act of God, nor an unforeseen accident. In fact, the possibility of the

 Lahaina wildfire disaster had been accurately and timely predicted by Red Flag

 Warnings and High Wind Watches issued by the National Weather Service (“NWS”)

 on August 6, 7, & 8, 2023. The Lahaina wildfire was a repeat of the August 24, 2018,

 Kaua’ula Valley wildfire (“2018 Kaua’ula wildfire”) which burned 2,000 acres,



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 destroyed 21 structures, including 13 homes, and displaced 60 residents of Kaua’ula

 Valley. The Lahaina wildfire was 100% totally preventable and could have easily and

 instantly been averted by the exercise of ordinary care, prudence, personal

 responsibility, and due diligence by all the named Defendants above.

       The Lahaina wildfire was caused initially by the grossly negligent acts and

 omissions of MAUI, MEMA, BISSEN, and ANDAYA, which or who all had actual

 historical notice of negligence stemming from the 2018 Kaua’ula wildfire, and/or the

 actual contemporary and prescient notice by Red Flag Warnings issued by NWS

 beginning on August 6, 7, & 8, 2023, which, if acted upon, would have prevented the

 catastrophic wildfire and displacement and other damages alleged herein suffered by

 Plaintiffs and Class Plaintiffs.   BISSEN’s and ANDAYA’s violations of the

 emergency management law, Hawaii Revised Statutes (“HRS”) Chapter 127A,

 including their grossly negligent failure to preemptively shut off electric power

 during Red Flag Warning conditions, were substantial factors in causing the Lahaina

 wildfire. BISSEN and ANDAYA were emergency workers for MEMA, an agency

 of MAUI.

       MFD’s negligent failure to post a fire watch at the burn site during Red Flag

 Warning conditions, thereby allowing and causing the Lahaina wildfire flare-up, was

 a substantial factor in causing the Lahaina wildfire.


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       The negligent failure of MECO, HECO, HELCO, and HEI (collectively

 referred to hereinafter in this First Amended Class Action Complaint as the “HEI

 Defendants”) to de-energize lines during Red Flag Warning conditions, and/or clear

 combustible vegetation from its rights-of -way, and/or to prevent infrastructure

 failure, were substantial factors in causing the Lahaina wildfire.

       BISHOP ESTATE’s negligent failures to prevent fire from spreading to

 adjacent properties, including Lahaina’s homes and businesses, by clearing, and/or

 maintaining highly combustible vegetation on their lands, were substantial factors in

 causing the Lahaina wildfire.

       HAWAIIAN TELCOM’S and SPECTRUM’S negligent overload of the poles

 and failure to maintain the highly combustible vegetation beneath their lines were

 substantial factors in causing the Lahaina wildfire.

       By this First Amended Class Action Complaint, Plaintiffs bring claims for

 payment of general and special damages arising out of Plaintiffs’ wrongful and

 forcible displacement from their Lahaina residences which were rendered

 uninhabitable by the Lahaina wildfire including damages and injury to persons,

 inconvenience, loss of use, relocation expenses, severe mental anguish, depression,

 emotional distress, loss of enjoyment of life, loss of livelihood, and past and future

 loss of income. By this First Amended Class Action Complaint, Plaintiffs also bring


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 these claims for the aforementioned damages and injury to persons on behalf of

 thousands of similarly situated individuals (“Class Plaintiffs”) who also resided in

 Lahaina on August 8, 2023, and whose residences were also rendered uninhabitable

 by the Lahaina wildfire, especially those who have no other means to obtain relief or

 compensation for their terrible and lifetime losses.

       2.     This First Amended Class Action Complaint invokes diversity

 jurisdiction and the supplemental jurisdiction of this Court, to consider claims under

 Hawaii law on behalf of Plaintiffs and Class Plaintiffs for payment of general and

 special damages arising out of wrongful and forcible displacement from their

 residences which were rendered uninhabitable by the Lahaina wildfire, including

 damages and injury to persons as alleged above. Plaintiffs and Class Plaintiffs assert

 these Hawaii claims pursuant to Rule 23 of the Federal Rules of Civil Procedure and

 the Class Action Fairness Act, 28 U.S.C. 1332(d).

       3.     This First Amended Class Action Complaint alleges that BISSEN and

 ANDAYA had actual knowledge of the 2018 Kaua’ula wildfire which scorched 2,000

 acres, destroyed 21 structures, including 13 homes, and displaced 60 residents and

 almost devastated Lahaina town. They knew exactly what the problems were which

 caused the 2018 Kaua’ula wildfire, including failure to direct MECO to shut off

 electric power in power lines, lack of a shut off system for power lines at risk during


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 high winds, lack of an emergency alert for cell phones, lack of warning sirens, lack

 of water for firefighters, lack of an evacuation plan, and lack of a brush abatement

 program. Pursuant to HRS §127A-5(a)(b), BISSEN, who was inaugurated as Mayor

 of Maui County on January 2, 2023, became an “emergency worker” pursuant the

 HRS Chapter 127A and “had direct responsibility for emergency management within

 the county, including the organization, administration, and operation of a county

 emergency management agency,” and had the duty “to perform emergency

 management functions within the territorial limits of the county.” HRS 127A-11(a).

 Although BISSEN had eight months after the date of his inauguration as Mayor of

 Maui County to perform emergency management functions to prepare for and protect

 Lahaina from the Lahaina wildfire, his conscious indifference to the consequences of

 a devastating repeat of the 2018 Kaua’ula wildfire was egregious and outrageous, and

 constituted gross negligence and/or recklessness pursuant to HRS 127A-9(a)(5).

       ANDAYA was appointed as MEMA Director in 2017, and for over five years

 prior to the Lahaina wildfire, had the power, pursuant to HRS 127A-11(a)(3),“to

 perform emergency management functions” to prevent and protect Lahaina from the

 Lahaina wildfire. ANDAYA’s conscious indifference to the consequences of a

 devastating repeat of the 2018 Kaua’ula wildfire was egregious and outrageous, and

 constituted gross negligence and/or recklessness pursuant to HRS 127A-9(a)(5).


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       BISSEN’s and ANDAYA’s acts and omissions as set forth above were

 substantial factors in causing Plaintiffs’ and Class Plaintiffs’ damages and injury to

 persons including wrongful and forcible displacement, inconvenience, loss of use,

 relocation expenses, severe mental anguish, depression, emotional distress, loss of

 enjoyment of life, loss of livelihood, and past and future loss of income.

       BISSEN’s untimely issuance of an Emergency Proclamation on August 8,

 2023, and his Maui Lawsuit (referenced below) against MECO filed August 24, 2023,

 are also admissions of his liability for gross negligence and/or recklessness and clear

 and convincing evidence of his liability for punitive damages for gross negligence

 and/or recklessness, as follows:

       a.     On August 8, 2023, at 8:00 p.m., BISSEN issued an Emergency

 Proclamation LONG AFTER the Lahaina wildfire had already forcibly displaced

 12,000 residents. The Emergency Proclamation stated, in part, that it was intended

 to “mitigate hazardous situations in advance of the weather effects from Hurricane

 Dora,” and that the Director of the Maui Emergency Management Agency is directed

 to take appropriate actions to direct MECO to “shut off . . . electric power

 connections.”

       The untimely Emergency Proclamation is an admission of his liability for gross

 negligence and/or recklessness and clear and convincing evidence of his liability for


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 punitive damages for gross negligence and/or recklessness which corroborates

 Plaintiffs’ and Class Plaintiffs’ claims that BISSEN’s failure to “mitigate hazardous

 situations in advance of the weather effects from Hurricane Dora” by directing

 MECO to “shut off . . . electric power connections” constitutes gross negligence

 and/or recklessness.

       b.     On August 24, 2023, BISSEN filed a lawsuit in the Second Circuit Court

 of the State of Hawaii, denominated as County of Maui v. Maui Electric Company,

 Ltd., et. al., Civ. No. 2CCV-23-238 (“Maui Lawsuit”), which alleges at paragraphs

 102-107, that MECO’s failure to “deenergize its power lines during the High Wind

 Watch and Red Flag Warnings, before the ignition of the Lahaina wildfire constituted

 “gross negligence.” The Maui Lawsuit is also a judicial admission of BISSEN’s

 liability for gross negligence and/or recklessness and clear and convincing evidence

 of his liability for punitive damages for gross negligence and/or recklessness which

 corroborates Plaintiffs’ and Class Plaintiffs’ claim that BISSEN’s failure to direct

 MECO to “shut off . . . electric power connections” before the ignition of the Lahaina

 wildfire also constitutes gross negligence and/or recklessness.

       4.     BISSEN and ANDAYA are “emergency workers” pursuant to HRS

 127A-8(a) and “county employees” pursuant to HRS 127A-8(c). BISSEN’s and

 ANDAYA’s gross negligence and/or recklessness as set forth above render them


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 civilly liable to Plaintiffs and Class Plaintiffs for damages and injury to persons

 pursuant to HRS 127A-9(5). As “county employees,” BISSEN and ANDAYA are

 entitled to indemnification by MAUI pursuant to HRS 127A-8(b), and under the

 doctrine of respondeat superior.

       5.     This First Amended Class Action Complaint also alleges that the MFD,

 an agency of MAUI, negligently returned to the station after initially declaring the

 Lahaina wildfire to be “extinguished” on the morning of August 8, 2023, without

 posting a fire watch at the burn site at Ku’ialua Street and Ho’okahua Place while Red

 Flag Warning conditions were still in effect on August 8, 2023. Accordingly, when

 the fire flared up due to Red Flag conditions shortly after MFD left the burn site, the

 lack of a fire watch allowed the fire to burn out-of-control and spread rapidly to many

 acres of dry and highly combustible vegetation causing a huge conflagration, which

 destroyed thousands of Lahaina residences and wrongfully and forcibly displaced

 thousands of residents, including Plaintiffs and Class Plaintiffs.

       6.     This First Amended Class Action Complaint also alleges that HEI,

 HECO, HELCO, and MECO (“HEI Defendants”): 1) negligently failed to

 preemptively de-energize the power lines in Lahaina during Red Flag conditions; 2)

 failed to regularly clear and manage the dry highly combustible vegetation

 accumulated in their rights-of-way (which vegetation was ignited by a fallen


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 energized power line on August 8, 2023, causing a fire which spread rapidly to

 adjacent lands); and 3) negligently designed, maintained or operated the electric

 infrastructure in the Lahaina area, and that these negligent acts and omissions were

 substantial factors in causing damages to Plaintiffs and Class Plaintiffs as alleged

 above in this First Amended Class Action Complaint..

        7.     This First Amended Class Action Complaint also alleges that BISHOP

 ESTATE negligently failed to regularly clear and manage the hundreds of acres of dry

 highly combustible vegetation accumulated on their fallow agricultural lands in the

 Lahaina area, which caught fire on August 8, 2023, as alleged above, and that the fire

 spread rapidly to adjacent properties, thereby causing a huge conflagration igniting

 and destroying about 3,900 homes and structures in Lahaina and forcibly displacing

 and causing damages to 12,000 Lahaina residents, including Plaintiffs and Class

 Plaintiffs.

        8.     This First Amended Class Action Complaint also alleges that the

 HAWAIAN TELCOM and SPECTRUM Defendants negligently overloaded the poles

 which carried their respective lines and failed to clear or maintain the highly

 combustible vegetation beneath their lines. On August 8, 2023, the high winds

 caused the overloaded poles and lines to fall causing the electric lines to ignite the

 highly combustible vegetation, which in turn resulted in a fire which spread rapidly


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 to adjacent properties causing a huge conflagration which destroyed Lahaina town

 and displaced Plaintiffs and Class Plaintiffs.

       9.     As alleged below, DOE DEFENDANTS 1-100 are Defendants presently

 unknown to Plaintiffs who are in some manner responsible for the damages caused

 to Plaintiffs and Class Plaintiffs.

                            DEMAND FOR JURY TRIAL

       10.    Plaintiffs and Class Plaintiffs hereby demand trial by jury of all issues

 so triable herein.

                                   JURISDICTION

       11.    Jurisdiction of this Court is proper pursuant to 28 U.S.C. Sec. 1332(d)(2)

 & (d)(5)(B) (“Class Action Fairness Act” or “CAFA”) because Class Plaintiffs

 contains more than 100 members, Plaintiffs and Defendant are minimally diverse (at

 least one Plaintiff is not a citizen of Hawaii and at least one Defendant is a citizen of

 Hawaii), and the amount in controversy exceeds $5 million. Also, none of the

 mandatory or discretionary CAFA exceptions to jurisdiction apply to this Class

 Action Complaint – that is, none of the Defendants in this action are States, State

 officials, or other governmental entities against whom the district court may be

 foreclosed from ordering relief (none of the Maui Defendants qualifies pursuant to

 this exception) (28 USC 1332(d)(5)(A)), this is not the first class action filed in


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 relation to the Lahaina wildfire (28 USC 1332(d)(4)(A)(ii)), and at least one of the

 primary Defendants is not a Hawaii citizen (28 USC 1332(d)(3)). Finally, this Court

 has already ruled in its Order filed on April 5, 2024, in the Naki (Civ. No. 23-435),

 Burnes (Civ. No. 23-452), and Eder (Civ. No. 23-459) Class Actions regarding

 damages related to the Lahaina wildfire which were removed to this Court that

 abstention is not appropriate pursuant to Colorado River Water Conservation Dist.

 v. United States, 424 U.S. 800 (1976).

                                       VENUE

       12.    Venue is proper in the District of Hawaii pursuant to 28 USC 1391(b)

 as the claims set forth in this Class Action Complaint arose in this District on the

 island of Maui, State of Hawaii.

                                 PARTIES

 A.    PLAINTIFFS

       13. SEAN STOVER

       Plaintiff SEAN STOVER (“STOVER”) is presently a citizen of the State of

 Oregon living in Bend, Oregon. On the date of the Lahaina wildfire, he rented an

 apartment in Lahaina at the Spinnaker Apartments located at 760 Wainehi Street

 which burnt down in the Lahaina wildfire. While living in Lahaina, STOVER was

 bartending at the Sly Mongoose, located at 1036 Limahana Pl #3h, and at Amigos


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 located at 658 Front St #145A. Both restaurants burned down in the Lahaina wildfire.

       STOVER lost everything in the Lahaina wildfire. As a result of the Lahaina

 fire, STOVER has suffered damages and injury to his person including wrongful and

 forcible displacement, severe mental anguish, depression, emotional distress, loss of

 enjoyment of life, loss of livelihood, and loss of past and future income. Maui was

 his home. He is distraught and suffering from depression and wants to return to

 Lahaina but is unable to do so because he has no home and no job in Lahaina.

       14. CASSANDRA FAIRALL

       Plaintiff CASSANDRA FAIRALL (“FAIRALL”) is presently a citizen of the

 State of Oregon living in Bend, Oregon. On the date of the Lahaina wildfire, she

 rented an apartment in Lahaina at the Spinnaker Apartments located at 760 Wainehi

 Street which burnt down. FAIRALL was a server at Cheeseburger in Paradise located

 at 811 Front St. which also burned down in the Lahaina wildfire. FAIRALL lost

 everything in the Lahaina wildfire.

       As a result of the Lahaina wildfire, Plaintiff FAIRALL has suffered damages

 and injury to her person including wrongful and forcible displacement, severe mental

 anguish, depression, emotional distress, loss of enjoyment of life, loss of livelihood,

 and loss of past and future income. Maui was her home. She is distraught and

 suffering from depression and wants to return to Lahaina but is unable to do so


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 because she has no home and no job in Lahaina.

       15. MARK PREVOT

       Plaintiff MARK PREVOT (“PREVOT”) is presently a citizen of the State of

 Hawaii living at the Hyatt in Ka’anapali. As of August 8, 2023, he had been renting

 a house in Lahaina at 390 Kauwala St., Lahaina, for eleven years. He was working

 at the Lahaina Yacht Club as a bar manager. On August 8, 2023, he got up about 7

 a.m. and went to work at 8 a.m. As there was no power, he went back home. At

 about 2:30-3:00 p.m., he first saw smoke. Within 15-20 minutes, the fire reached him

 and destroyed his house and truck. Several of his neighbors died in the fire.

 PREVOT lost all his belonging in the fire.

       As a result of the Lahaina fire, PREVOT has suffered damages and injury to

 his person including wrongful and forcible displacement, severe mental anguish,

 depression, emotional distress, loss of enjoyment of life, loss of livelihood, and loss

 of past and future income. Maui was his home. He is distraught and suffering from

 depression and wants to return to Lahaina but is unable to do so because he has no

 home and no job in Lahaina.

       16. EVA MARIA ADAM

       Plaintiff EVA MARIA ADAM (“ADAM”) is a single mother with two

 daughters, 9 and 7, who is presently a citizen of the country of Slovakia. On August


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 8, 2023, she lived with her two daughters in Lahaina at the Emerald Plaza, 258

 Kupuohi Street, in Lahaina Maui and was employed at the Hotel Westin in

 Ka’anapali, Maui. On the day of the fire, she stayed inside, and at 2:30 - 3:00 p.m.,

 the fire started in Lahainaluna. She fled with her two daughters to Wailuku, in the

 smoke. Her daughters were traumatized by losing their home, and her older daughter

 is receiving therapy. Her daughters miss their father who still lives on Maui. The

 Lahaina fire destroyed everything ADAM and her daughters owned.

       As a result of the Lahaina fire, ADAM and her two daughters have suffered

 damages and injury to their persons including wrongful and forcible displacement,

 severe mental anguish, depression, emotional distress, loss of enjoyment of life, loss

 of livelihood, and loss of past and future income. Maui was home to ADAM and her

 two daughters. She is distraught and suffering from depression and wants to return

 to Lahaina with her children but is unable to do so because he has no home and no

 job in Lahaina. ADAM and her two daughters are currently living with her parents

 in Slovakia, day to day.

       17. RANDY BROCK

       Plaintiff RANDY BROCK (“BROCK”) is presently a citizen of the State of

 Michigan living in Flatrock, Michigan, with his sister and brother-in-law. BROCK

 had lived in Lahaina in his brother’s house since 2006 and was earning over $60,000


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 per year working in condominium maintenance. As a result of the Lahaina wildfire,

 BROCK lost his home and his employment and was forced to move to Michigan

 where he presently works in a grocery store earning $13 per hour.

       As a result of the Lahaina wildfire, BROCK has suffered damages and injury

 to his person including wrongful and forcible displacement, severe mental anguish,

 depression, emotional distress, loss of enjoyment of life, loss of livelihood, and loss

 of past and future income. He is distraught and suffering from depression because

 he wants to return to Lahaina but cannot because he has no home and no job in

 Lahaina.

 B.    DEFENDANTS

       18. Defendant BISSEN is a citizen and resident of the County of Maui, and the

 State of Hawaii, and at all times relevant to this First Amended Class Action

 Complaint, was an “emergency worker” pursuant to HRS 127A-8(a) and as an

 employee of MEMA, and is deemed to be a “county employee” pursuant to HRS

 127A-8(c). BISSEN is entitled to indemnification by the county of Maui pursuant to

 HRS 127A-8(b), and pursuant to the doctrine of respondeat superior.

       19. Defendant ANDAYA is a citizen and resident of the County of Maui, and

 the State of Hawaii, and at all times relevant to this First Amended Class Action

 Complaint, an “emergency worker” pursuant to HRS 127A-8(a) and employee of


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 MEMA and is deemed to be a “county employee” pursuant to HRS 127A-8(c).

 ANDAYA is entitled to indemnification by the county of Maui pursuant to HRS

 127A-8(b), and pursuant to the doctrine of respondeat superior.

       20.   Defendant MEMA is a department of MAUI, with its Emergency

 Operations Center (“EOC”) located at 200 S. High Street, Wailuku, Maui. HRS

 §127A-5(b) provides that MEMA “shall perform emergency management functions

 within the territorial limits of the county within which it is organized, coordinate all

 emergency management plans within the county, and cooperate as closely as possible

 with the agency and emergency management agencies in the other counties in all

 aspects of emergency management.”

       21. Defendant MFD is a department of Defendant MAUI and is responsible

 in the County of Maui for providing and performing fire fighting and first-responder

 emergency services in order to save lives and property from fires, including the

 prevention and management of the Lahaina wildfire.

       22.    Defendant MAUI is a political subdivision duly organized and existing

 by virtue of Constitution and laws of the State of Hawaii. MAUI is the employer of

 BISSEN and ANDAYA, and is liable, under the doctrine of respondeat superior, for

 indemnification of any damages caused by BISSEN and ANDAYA, while acting in

 the course and scope of their employment as emergency works as alleged in this First


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 Amended Class Action Complaint, to Plaintiffs and Class Plaintiffs, resulting from

 the Lahaina wildfire.

       Defendant MAUI is the principal of MEMA and MFD and is liable for any

 damages suffered by Plaintiffs and Class Plaintiffs caused by MEMA and MFD, as

 agents of MAUI, resulting from the Lahaina wildfire. Defendant MAUI is not

 authorized by State law to declare bankruptcy.

       23.   Defendant MECO, is, and at all times relevant to this First Amended

 Class Action Complaint was, doing business in the County of Maui, State of Hawaii,

 as a public utility company pursuant to HRS Chapter 269. MECO is a wholly owned

 subsidiary of HEI. MECO owns, controls, operates, and/or manages one or more

 energy plants and equipment that are directly or indirectly for public use for the

 production, conveyance, transmission, delivery, or furnishing of light and power in

 Lahaina, the county County of Maui, State of Hawaii. Its principal place of is in

 Maui County.

       24.   Defendant HELCO is, and at all times relevant to this First Amended

 Class Action Complaint was, doing business in the County of Maui, State of Hawaii,

 as a public utility company pursuant to HRS Chapter 269. HELCO is a wholly owned

 subsidiary of HEI. HELCO owns, controls, operates, and/or manages one or more

 energy plants and equipment that are directly or indirectly for public use for the


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 production, conveyance, transmission, delivery, or furnishing of light and power in

 the county of Maui, State of Hawaii. Its principal place of business is in Hawaii

 County.

       25.    Defendant HECO, is, and at all times relevant to this First Amended

 Class Action Complaint was, doing business in the County of Maui, State of Hawaii,

 as a public utility company, pursuant to HRS Chapter 269. HECO is a wholly owned

 subsidiary of HEI. HECO owns, controls, operates, and/or manages one or more

 energy plants and equipment that are directly or indirectly for public use for the

 production, conveyance, transmission, delivery, or furnishing of light and power in

 the County of Maui, State of Hawaii. Its principal place of business is in Honolulu,

 Hawaii.

       26.    Defendant HEI is the parent company of HECO and MECO and

 HELCO, and is, and at all times relevant to this First Amended Class Action

 Complaint was, doing business in the State of Hawaii, including the County of Maui.

 HEI is a publicly traded, investor-owned utility company that owns, controls,

 operates, and/or manages one or more energy plants and equipment that are directly

 or indirectly for public use for the production. conveyance, transmission, delivery, or

 furnishing of light and power in the County of Maui State of Hawaii pursuant to HRS

 Chapter 269. HEI is in the business of providing electricity to the residents of Maui


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 County, including, but not limited to those residing in the communities of Olinda,

 Kula and Lahaina, through a network of electrical transmission and distribution lines.

 It does regular, sustained business throughout Hawaii, including in Maui County. Its

 principal place of business is in Honolulu at 1001 Bishop Street, Suite 2900.

 Honolulu, HI 96813.

       27.    Plaintiff alleges on information and belief that HEI Defendants are

 jointly and severally liable for each other’s negligence, conduct, and wrongdoing as

 alleged herein, including failing to timely preemptively de-energize the electric power

 lines and/or shut off electric connections to the Lahaina area, and are liable for

 negligence, gross negligence, and/or reckless acts or omissions, which caused or

 contributed to the loss and damages caused to Plaintiffs and Class Plaintiffs by the

 Lahaina wildfire, on August 8, 2023.

       28.    Defendant BISHOP ESTATE is a charitable foundation which owns

 hundreds of acres of fallow agricultural lands containing vast quantities of

 accumulated dried combustible vegetation in and around Lahaina and adjacent to and

 beneath HEI Defendant’s poles and transmission lines which ignited on August 8,

 2023, and caused or contributed to the loss and damages caused by the Lahaina

 wildfire.

       29. Defendant HAWAIIAN TELCOM, INC. (“HAWTEL”) is a Hawaii


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 domestic company and is engaged in the business of providing integrated

 communications, technology, and entertainment solutions for business and residential

 customers, in the State of Hawaii. It is located at 1177 Bishop Street, Suite 15,

 Honolulu, Hawaii, 96813.

       30. Defendant HAWAIIAN TELCOM COMMUNICATIONS INC.

 (“HAWTELCOM”) is a Delaware corporation doing business in the State of Hawaii.

       31. Defendant SPECTRUM OCEANIC. LLC (“SPECTRUM”) is a Delaware

 limited liability company, with its principal place of business in St. Louis, Missouri,

 doing business in the State of Hawaii. Its stated purpose is cable telecommunication.

       32. Defendants HAWTEL, HAWTELCOM, and SPECTRUM are sometimes

 collectively referred to herein as “TELCOM DEFENDANTS”.

       33.    Plaintiffs have reviewed public and other available records in order to

 ascertain the true names and capacities of all Defendants in this action. The true

 names and capacities of all responsible parties are unknown to Plaintiffs. Plaintiffs

 are unable to ascertain the identity of the Defendants in this action designated as DOE

 DEFENDANTS 1-100 who are sued herein under fictitious names for the reason that

 despite diligent efforts, their true names and identities are presently unknown to

 Plaintiffs except that they are connected in some manner with the named Defendants

 and/or were the agents, servants, employees, employers, representatives, subsidiaries,


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 co-venturers, associates, vendors, suppliers, manufacturers, subcontractors or

 contractors and/or owners, lessees, assignees, licensees, designees, and engineers of

 the named Defendants and/or in some manner presently unknown to Plaintiffs

 engaged in activities alleged herein and/or were in some manner responsible for the

 injuries or damages to Plaintiffs and Class Plaintiffs, and/or conducted some activity

 in a negligent or dangerous manner and/or negligently failed to conduct some

 activity, which such conduct and/or absence of conduct was a proximate cause of

 injuries or damages to Plaintiffs and Class Plaintiffs as alleged in this First Amended

 Class Action Complaint, and Plaintiffs pray for leave to insert herein their true names,

 identities, capacities, activities and/or responsibilities when the same are ascertained.

                   RULE 23 CLASS ACTION ALLEGATIONS

       34.    Plaintiffs bring all claims alleged herein under Hawaii law as a class

 action claim on behalf of Class Plaintiffs, and seek to have certified, pursuant to Rule

 23 of the Federal Rules of Civil Procedure, the Class of Plaintiffs composed of:

              All persons who, as of August 8, 2023, resided in Lahaina,
              and whose residences have been rendered uninhabitable
              due to the Lahaina wildfire and who have suffered damages
              and injury to person, including wrongful and forcible
              displacement, inconvenience, loss of use, relocation
              expenses, severe mental anguish, depression, emotional
              distress, loss of enjoyment of life, loss of livelihood, and
              loss of past and future income.

       35. The Class claims have been brought and may properly be maintained as a

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 class action under Rule 23 of the Federal Rules of Civil Procedure because: (1) the

 Class consists of thousands of persons and is so numerous that joinder of all Class

 members is impracticable; (2) there are questions of law and or fact common to the

 Class; (3) the claims of the proposed Class representatives are typical of the claims

 of the Class; and (4) the proposed Class representatives and their counsel will fairly

 and adequately protect the interests of the Class. In addition, the questions of law or

 fact that are common to the Class predominate over any questions affecting only

 individual Class members and the Class Action is superior to other available means

 for fairly and efficiently adjudicating the controversy.

       a.     Ascertainability and Numerosity: The potential Class Plaintiffs as

 defined herein are so numerous that joinder would be impracticable. The number of

 persons wrongfully and forcibly displaced by the Lahaina wildfire is estimated to be

 thousands, and it can be further presumed that the Class Plaintiffs are dispersed

 throughout Hawaii, the mainland United States, and other parts of the world outside

 the United States. Notice can be provided to the Class Plaintiffs via first class mail,

 email, and other techniques using a form of notice similar to those customarily used

 in class action lawsuits of this nature.

       b.     Commonality and Predominance of Common Questions: There are

 questions of law and fact common to Plaintiffs and the Class Plaintiffs that


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 predominate over any questions affecting only individual members of the Class.

 These common questions of law and fact include, but are not limited to, the

 following:

              i.     Whether BISSEN and ANDAYA had actual notice of the 2018

 Kaua’ula wildfire which destroyed Kaua’ula Valley and displaced 60 residents.

              ii..   Whether BISSEN and/or ANDAYA had received notice of the

 Red Flag Warnings and High Wind Watches issued by the National Weather Service

 for the Lahaina area, on August, 6, 7, & 8, 2023.

              iii.   Whether the failure of BISSEN and/or ANDAYA to timely direct

 MECO to shut off electric power connections to the Lahaina area, before the Lahaina

 wildfire was ignited, constituted gross negligence, and/or recklessness;

              iv.    Whether the gross negligence and/or recklessness of BISSEN

 and/or ANDAYA was a substantial factor in causing Plaintiffs and Class Plaintiffs

 to suffer damages and injury to persons including wrongful and forcible

 displacement, inconvenience, loss of use, relocation expenses, severe mental anguish,

 depression, emotional distress, loss of enjoyment of life, loss of livelihood, and loss

 of past and future income;

              v.     Whether BISSEN and/or ANDAYA are civilly liable to Plaintiffs

 and Class Plaintiffs for damages and injury to persons including wrongful and


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 forcible displacement, inconvenience, loss of use, relocation expenses, severe mental

 anguish, depression, emotional distress, loss of enjoyment of life, loss of livelihood,

 and loss of past and future income, actionable under HRS Chapter 127A;

              vi.    Whether MEMA and/or MAUI are liable for Plaintiffs’ and Class

 Plaintiffs’ damages and injury to persons, including wrongful and forcible

 displacement, inconvenience, loss of use, relocation expenses, severe mental anguish,

 depression, emotional distress, loss of enjoyment of life, loss of livelihood, and loss

 of past and future income, caused by BISSEN’s and ANDAYA’s gross negligence

 and/or recklessness, under HRS 127A-5(a), (b), (c), (e), HRS 127A-8(a), (b), & HRS

 127A-9(a)(5), indemnification, and/or respondeat superior;

              vii.   Whether MFD had received notice of the Red Flag Warnings and

 High Wind Watches issued by the National Weather Service for the Lahaina area on

 August 6, 7, & 8, 2023,

              viii. Whether MFD’s failure to post a fire watch at the burn site during

 Red Flag Warnings and the High Wind Watch conditions constituted negligence,

 gross negligence, or recklessness,

              ix.    Whether MFD’s negligence, gross negligence, or recklessness was

 a substantial factor in causing the Plaintiffs and Class Plaintiffs to suffer damages and

 injury to persons including wrongful and forcible displacement, inconvenience, loss


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 of use, relocation expenses, severe mental anguish, depression, emotional distress,

 loss of enjoyment of life, loss of livelihood, and loss of past and future income.

              x.     Whether MAUI is liable for Plaintiffs’ and Class Plaintiffs’

 damages and injury to persons caused by the negligence, gross negligence, or

 recklessness of MFD.

              xi.    Whether HEI Defendants had received notice of the Red Flag

 Warnings and High Wind Watches issued by the National Weather Service for the

 Lahaina area on August 6, 7, & 8, 2023,

              xii.   Whether HEI Defendants’ failure to de-energize the electric power

 lines to the Lahaina area, before the Lahaina wildfire was ignited, constituted

 negligence, gross negligence, or recklessness;

              xiii. Whether HEI Defendants’ negligence, gross negligence, or

 recklessness was a substantial factor in causing Plaintiffs and Class Plaintiffs to suffer

 damages and injury to persons including wrongful and forcible displacement,

 inconvenience, loss of use, relocation expenses, severe mental anguish, depression,

 emotional distress, loss of enjoyment of life, loss of livelihood, and loss of past and

 future income.

              xiv.   Whether HEI Defendants’ failure to maintain its poles and lines,

 and to reasonably manage or clear the combustible vegetation accumulated in the


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 power line infrastructure rights-of-way to mitigate the risk of fire constituted

 negligence, gross negligence, or recklessness;

              xv.    Whether HEI Defendants’ negligence, gross negligence, or

 recklessness was a substantial factor in causing the Plaintiffs and Class Plaintiffs to

 suffer damages and injury to persons including wrongful and forcible displacement,

 inconvenience, loss of use, relocation expenses, severe mental anguish, depression,

 emotional distress, loss of enjoyment of life, loss of livelihood, and loss of past and

 future income.;

              xvi.   Whether the failure of BISHOP ESTATE to reasonably manage

 or clear the combustible vegetation accumulated on their land located in and around

 Lahaina to mitigate the risk of fire constituted negligence, gross negligence, or

 recklessness;

              xvii. Whether BISHOP ESTATE’s negligence, gross negligence, or

 recklessness was a substantial factor in causing Plaintiffs and Class Plaintiffs to suffer

 damages and injury to persons including wrongful and forcible displacement,

 inconvenience, loss of use, relocation expenses, severe mental anguish, depression,

 emotional distress, loss of enjoyment of life, loss of livelihood, and loss of past and

 future income.

              xvi.   Whether the TELCOM DEFENDANTS overloaded the poles


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 carrying their lines and failed to clear or maintain the highly combustible vegetation

 beneath their lines constituted negligence, gross negligence, or recklessness causing

 the poles to fall thereby allowing electric lines on the poles to ignite the combustible

 vegetation beneath their lines and was a substantial factor in causing Plaintiffs and

 Class Plaintiffs to suffer damages and injury to persons including wrongful and

 forcible displacement, inconvenience, loss of use, relocation expenses, severe mental

 anguish, depression, emotional distress, loss of enjoyment of life, loss of livelihood,

 and loss of past and future income.

       c.     Typicality: Plaintiffs claims are typical of the claims of the Class

 Plaintiffs. Defendants’ common course of tortious conduct has caused Plaintiffs and

 Class Plaintiffs to sustain the same or similar injuries and damages caused by the

 same common violations of law, negligence, gross negligence, or recklessness of

 Defendants. Plaintiffs’ claims are thereby representative of and co-extensive with

 the claims of the Class Plaintiffs.

       d.     Adequacy of Representation: Plaintiffs are members of the Rule 23

 Class defined herein, do not have any conflicts of interest with other Class Plaintiffs,

 and will prosecute the case vigorously on behalf of the Class Plaintiffs. Plaintiffs will

 fairly and adequately represent and protect the interests of the Class Plaintiffs.

 Plaintiffs’ attorneys are sufficiently competent, experienced, and associated with


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 others to represent the Class Plaintiffs and pursue a class action on behalf of Class

 Plaintiffs.

        e.     Superiority: The expense and burden of individual litigation by each

 member make it impractical for Class Plaintiffs to seek redress individually for the

 wrongful conduct alleged herein. Should separate actions be brought, or be required

 to be brought, by each individual Class Plaintiff, the resulting multiplicity of lawsuits

 would cause undue hardship and expense for the Court and the litigants. The

 prosecution of separate actions would also create a risk of inconsistent rulings which

 might be dispositive of the interests of other Class Plaintiffs who are parties to

 adjudication and/or may substantially impede their ability to adequately protect their

 interests.

        36.    Excluded from the Class are: (1) Defendants and any of their affiliates,

 parents or subsidiaries; all employees of Defendants; the judges assigned to this case,

 their immediate families, and court staff; and (2) insurers and insurance syndicates

 whose claims for damages regarding the Lahaina wildfire, arise out of a right of

 subrogation, whether equitable, contractual or otherwise, (3) claims for physical

 bodily injury (such as serious burns, physical damages caused by inhaling noxious

 fumes, etc.), including wrongful death, (4) claims for damage to real property and

 appurtenances thereto, and (5) claims by residents of Olinda and Kula for wrongful


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 and forcible displacement, and other damages, related to wildfires.

       37.    Plaintiffs hereby reserve the right to amend or modify the Class

 definition after having had an opportunity to conduct additional investigation and

 discovery.

       38.    The proposed Class meets the criteria for certification under the Federal

 Rules of Civil Procedure, Rules 23(a), 23(b)(1), 23(b)(2), 23(b)(3) and/or 23(c).

                     LAHAINA PRE-WILDFIRE BACKGROUND

       39.    In 2014, the Western Maui Community Wildfire Protection Plan

 (“WMCWPP”) documented the wildfire history of western Maui, and reported that,

 “The majority of wildfires on Maui are caused by human error or arson, especially

 near developments, power line right of ways, and along roadsides. Once ignited

 along the interface, wildfires can spread rapidly through residential areas, threatening

 both property and life.” Id. at p. 9.

       40.    The WMCWPP gave the Lahaina the highest rated fire danger of

 “Extremely Dangerous” and warned that Lahaina was among Maui’s most fire-prone

 areas. This was based on factors such as Lahaina’s proximity to grasslands, steep

 terrain, and frequent high winds. Id., see, Appendices B3, B5, B15, B21, B22, B23,

 B25, B26, B27.

       41.    On August 24, 2018, fierce down-slope winds associated with Hurricane


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 Lane caused the 2018 Kaua’ula wildfire which drove two huge wildfires down the

 mountains above Lahaina and scorched about 2,800 acres. The 2018 Kaua’ula

 wildfire burned 2,000 acres, and destroyed 21 structures, including 13 homes and 30

 vehicles. ANDAYA was the Director of MEMA at that time. The Lahaina Civic

 Center fire burned 800 acres and one home in Kaanapali

       42. In the 2018 Kaua’ula wildfire, two people were injured, one because of

 burns and another because of smoke inhalation, and sixty people were forcibly

 displaced and left homeless. Six hundred people were evacuated overall. Flames

 reached the track field at Lahainaluna High School. The Lahaina Civic Center fire

 burned 800 acres and one home in Kaanapali.

       43.    At a post-fire community meeting held at the Lahainaluna High School

 cafeteria, residents questioned the lack of a shut off system for power lines at risk

 during high winds. They asked why they did not receive an emergency alert on their

 cell phones, why sirens had not blared, and why firefighters lost access to water.

 They pointed out the apparent lack of an evacuation plan and asked why Maui

 Electric Company had not cut the energy to its power lines in anticipation of the fire

 risk. “We were running around through town with cinders burning our hairs, banging

 on doors to wake people up at two in the morning,” one resident said at the meeting.

 “Why did our civil defense siren system fail us?” People were angry. Uilani Kapu,


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 whose house was destroyed, yelled at then Mayor Alan Arakawa and his staff about

 the lack of a brush abatement program.

       44.    Mayor Arakawa said, “We could have had a lot of deaths. . . . When you

 look at the magnitude of the fire that occurred and the amount of acreage that burned,

 and how close it came to so many houses, . . . we could have lost most of Lahaina.”

       45.    Following the 2018 Kaua’ula wildfire, county officials considered

 themselves lucky that the fire did not jump Lahainaluna Road, or it would have

 devastated the town of Lahaina. At a special Maui County Council meeting held on

 August 28, 2018, then MEMA Director ANDAYA, said, “It nearly, nearly reached

 Lahaina Town. And had it jumped Lahainaluna Road, it would have been, I mean,

 it would have been devastating.” [Video transcript.]

       The MEMA After-Action Report/Improvement Plan 2018-08-18 For Tropical

 Cyclone Lane, dated August 2019 (“AAR”) failed to address any of the complaints

 and questions raised by residents, including failure to preemptively shut off electric

 power, lack of warning siren, lack of water for fire fighters, lack of an evacuation

 plan, and lack of a brush abatement program. Instead of addressing the mistakes

 raised by the residents which would have prevented a repeat of future wildfires, the

 AAR contained recommendations, such as, “Improve air flow and air conditioning

 of the EOC.”


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       The AAR Conclusion stated, in part: “Much of the EOC’s preparation was for

 the effects of a hurricane or tropical storm, and so we were caught off guard when the

 threat turned into a large brush fire that came close to engulfing all of Lahaina town.”

 On August 6, 7, & 8, 2023, the NWS issued multiple Red Flag Warnings and High

 Wind Watches warning of catastrophic rapidly spreading wildfires on August 8,

 2023, which were ignored by BISSEN and ANDAYA. Accordingly, because of their

 gross negligence and/or recklessness, on August 8, 2023, MEMA was “caught off

 guard” again, and the EOC was not fully activated until 4:30 p.m., long after it was

 too late to stop the wildfire from burning down Lahaina town.

       46.    Following the 2023, Lahaina wildfire, David Jung, a Lahaina resident

 said, “We were given a bunch of lip service, and instead of preventing another fire,

 the focus of the meeting was ‘Look, we’re gonna give you guys money and reimburse

 you,’ and we were, ‘No, no, no, no , that is not what we want. You can give us all the

 money in the world, we just do not want this to happen again.’ But everything we

 told them was completely, 100% ignored.” “It was all just a replay of 2018,” Jung

 said, “only worse.” NBC News, August 24, 2023.

       47.    A 2018-2019 report from the Hawaii Wildfire Management Organization

 was particularly attuned to the fact that research shows vegetation is a “key ingredient

 in the recipe for recurring wildfire.” The report pointed out the seemingly obvious


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 conclusion that “reducing wildfire hazard is a landscape-level issue” because fires do

 not respect property boundaries. The report noted that over the past decade more

 than 1,000 wildfires burned more than 17,000 acres occur every year in Hawaii. The

 report concluded that much of the increased rate of wildfire in Hawaii, more than a

 400% increase over the past century, is because of human conduct and specifically

 related to “nonnative, fire-prone grasses and shrubs [that] now cover nearly one

 quarter of Hawaii’s total land area and, together with a warming, drying climate and

 year-round fire season, greatly increase the incidence of larger fires.”

       48.    The 2018-2019 report also pointed out the unique risk posed by electrical

 lines: “Above ground power lines are vulnerable to wildfire and can even provide the

 ignition (sparks) that could start a wildfire, particularly in windy or stormy

 conditions. There are long-term solutions for reducing power line-related wildfire

 hazards such as infrastructure upgrades.” The report recommended updating the

 infrastructure and burying power lines, particularly in high-risk areas, and specifically

 in Lahaina. The HWMO’s update hazard mitigation plan lists West Maui as having

 a “high wind fire risk” and a map on page 503 shows all of Lahaina buildings as

 being in a wind fire risk area, and the document warns that “populations with limited

 access to information may not receive time-critical warning information to enable

 them to reach places of safety.”


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       49.    In 2019, a series of brush fires across Maui burned thousands of acres.

 One Maui wildfire burned thousands of acres and prompted evacuations in Maalaea

 and North Kihei.

       50.    In a 2020 report titled, “Fire and Rain: The Legacy of Hawaii” published

 in the American Meteorological Society’s Journal, researchers from the University

 of Hawaii found that neither thunderstorms nor lightning started the 2018 Hurricane

 Lane wildfires. The Honolulu Fire Department attributed the Oahu wildfire to power

 lines arcing in Hurricane Lane’s powerful, high wind gusts.

       51.    Fire data from the 2020 Maui County Hazard Mitigation Plan Update

 (MCHMPU) has indicated 80 wildfires directly impacted Maui County between 1999

 and 2019. This results in approximately four wildfires every year occurring within

 the County overall. The MCHMPU also warned that the western portion of Maui has

 a “Highly Likely (greater than 90% annual chance)” probability of experiencing

 wildfires.

       52.    The MCHMPU identifies all of Lahaina’s homes and buildings within

 a “High Risk Area” for wildfire and warns that “populations with limited access to

 information may not receive time-critical warning information to enable them to reach

 places of safety.”

       53.    The July 2021 Maui County Report on Wildfire Prevention and Cost


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 Recovery made various recommendations. The investigation found that the number

 of incidents from a combination of “wild/brush/forest fires appears to be increasing,

 and that this increase poses an increased threat to citizens, properties, and sacred

 sites.”

           54.   Consistent with Hawaii authorities and agencies, Federal Emergency

 Management Agency’s April 2023, Wind Retrofit Guide for Residential Buildings

 in Hurricane-Prone Regions designates the entire state of Hawaii as a hurricane-prone

 region at risk of high-wind hazards.

                 LAHAINA PRE-WILDFIRE RED FLAG WARNINGS

           55.   On Friday, August 4, 2023, the National Weather Service (“NWS”)

 posted on X (formerly known as Twitter) that Hawaii could experience “indirect

 impacts” from Hurricane Dora from Monday, August 7, 2023 through Wednesday,

 August, 9, 2023. including “strong and gusty trade winds” and “dry weather and

 high-fire danger.”

           56.   On August 6, 7, & 8, 2023, the NWS issued seven Red Flag Warnings

 and six High Wind Watches prior to the ignition of the Lahaina wildfire, as follows:

           57.   On Sunday, August 6. 2023, the NWS issued three High Wind Watches

 at 3:33 a.m., 10:05 a.m. and 3:24 p.m. The High Wind Watch issued at 3:33 a.m.,

 stated: “HIGH WIND WATCH IN EFFECT FROM MONDAY MORNING


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 THROUGH LATE TUESDAY NIGHT. IMPACTS: Damaging winds could blow

 down trees and power lines.” The High Wind Watches issued at 10:05 a.m., and 3:24

 p.m. repeated the same warnings. Lahaina Fire Comprehensive Timeline Report, at

 pp. 279 - 306.

       58.    On August 6, 2023, the NWS issued three Red Flag Warnings at 3:33

 a.m., 4:01 a.m. and 3:33 p.m. A Red Flag Warning is the highest NWS alert for

 conditions that might result in extreme fire behavior. The Red Flag Warning issued

 at 3:33 a.m., stated: “CRITICAL FIRE WEATHER CONDITIONS POSSIBLE

 MONDAY MORNING THROUGH LATE TUESDAY NIGHT ACROSS

 LEEWARD AREAS. Strong and gusty winds combined with low humidities and

 KBDI values possibly exceeding 600 may lead to critical fire conditions across

 leeward areas over the coming days.” “FIRE WEATHER WATCH IN EFFECT

 FROM MONDAY MORNING THROUGH LATE TUESDAY NIGHT FOR

 LEEWARD AREAS DUE TO STRONG AND GUSTY WINDS WITH LOW

 HUMIDITY. The National Weather Service in Honolulu has issued a fire Weather

 Watch which is in effect from Monday morning through late Tuesday Night.

 IMPACTS:         Any fires that develop will likely spread rapidly.       PRECAU-

 TIONARY/PREPAREDNESS ACTIONS. “A Fire Weather Watch means that

 critical fire weather conditions are forecast to occur.” The Red Flag Warnings issued


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 at 4:01 a.m., and 3:33 p.m. repeated the same warnings. Id.

       59.    On August 6, 2023, at 3:34 a.m., the NWS issued a Fire Weather

 Planning Forecast which      stated: “Maui Leeward West - Including Lahaina,

 Ka’anapali.” “FIRE WEATHER WATCH IN EFFECT FROM MONDAY

 MORNING THROUGH LATE TUESDAY NIGHT” Id.

       60.    On August 6, 2023, the Area Forecast Discussion issued at 9:13 p.m.

 stated: “FIRE WEATHER Critical fire conditions are highly likely beginning

 Monday. . . . Conditions could develop as early as Monday, but Tuesday has the

 greatest potential as the KDBI is expected to reach near or just above the 600 mark.”

 Id. [Emphasis added.]

       61.    On Monday, August 7. 2023, the NWS issued three more Red Flag

 Warnings at 3:15 a.m. and 4:42 a.m. and 3:55 p.m. The Red Flag Warning issued at

 3:15 a.m. stated: “RED FLAG WARNING FOR LEEWARD ARES DUE TO

 GUSTY WINDS AND LOW HUMIDITY. Very dry fuels combined with strong and

 gusty easterly winds and low humidities below 45% will produce critical weather

 conditions” and repeated the admonition that, “Any fires that develop will likely

 spread rapidly.” Id.

       62.    The Red Flag Warning issued on August 7, 2023, at 4:42 a.m.,

 DISCUSSION stated, “The strongest winds are expected over mountain terrain and


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 downslope into leeward areas where a High Wind Warning is in effect. . . . Wind

 speeds are expected to ramp up this afternoon/evening from east to west across the

 state with the window for the strongest winds after midnight tonight through the day

 on Tuesday.” [Emphasis added.] FIRE WEATHER stated: “Critical fire weather

 conditions are expected for the next few days as strong winds and a very dry air mass

 affects the state. The KDBI is expected to break 600 tomorrow, with the afternoon

 relative humidities dropping below 45 percent. Combined with strong winds over

 20 mph, the potential for extreme fire behavior is possible with any wildfires that

 develop and a Red Flag Warning is currently in effect.” The Red Flag Warning

 issued at 3:55 p.m. did not contain any additional warnings. Id.

       63.    The Area Forecast Discussion issued on August 7, 2023, at 3:53 p.m.

 stated, in part: “FIRE WEATHER. Critical fire weather conditions are expected for

 Tuesday and a Red Flag Warning remains in effect. Fuels are dry as indicated by the

 KBDI which is expected to break 600 tomorrow. RH is expected to drop below the

 45% threshold red flag conditions tomorrow. [Emphasis added.] Combined with

 winds that will be stronger than today, the potential exists for extreme fire behavior

 with any wildfire that ignites.” Id.

       64.    The undisputed evidence proves that, by August 7, 2023, BISSEN and

 ANDAYA, knew or should have known that: “Critical fire weather conditions are


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 expected for Tuesday and a Red Flag Warning remains in effect. Fuels are dry as

 indicated by the KBDI which is expected to break 600 tomorrow. RH is expected to

 drop below the 45% threshold red flag conditions tomorrow. Combined with winds

 that will be stronger than today, the potential exists for extreme fire behavior with any

 wildfire that ignites.” Id. [Emphasis added.]

       65.    On Tuesday, August 8. 2023, the NWS issued the seventh Red Flag

 Warning at 3:17 a.m., prior to ignition of the Lahaina wildfire at 6:35 a.m. The Red

 Flag Warning stated: “RED FLAG WARNING FOR LEEWARD AREAS DUE TO

 STRONG WINDS AND LOW HUMIDITY. Very dry fuels combined with strong

 and gusty easterly winds and low humidities will produce critical fire weather

 conditions through tonight. RED FLAG WARNING REMAINS IN EFFECT UNTIL

 6:00 A.M. HST WEDNESDAY FOR STRONG WINDS AND LOW HUMIDITY.

 IMPACTS:       Any fires that develop will likely spread rapidly.            PRECAU-

 TIONARY/PREPARED-NESS ACTIONS. . . . A Red Flag Warning means that

 critical fire weather conditions are either occurring or now or will shortly. A

 combination of strong winds, low relative humidity, and warm temperatures can

 contribute to extreme fire behavior.” Id.

       66.    On Tuesday, August 8, 2023, the NWS issued its sixth High Wind

 Warning at 3:18 a.m. prior to ignition of the Lahaina wildfire at 6:35 a.m. “HIGH


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 WIND WARNING REMAINS IN EFFECT UNTIL 6:00 A.M. HST WEDNESDAY.

 IMPACTS: Damaging winds may blow down trees and power lines.” The Fire

 Weather Planning Forecast issued at 4:00 a.m., stated: “RED FLAG WARNING IN

 EFFECT UNTIL 6:00 HST WEDNESDAY. Very dry fuels (KDBI around 600)

 combined with strong and gusty easterly winds with low humidities below 45% will

 produce critical fire weather conditions through tonight.” “Maui Leeward West -

 including Lahaina, Ka’anapali 4:00 a.m. HST Tuesday August 8, 2023. RED FLAG

 WARNING IN EFFECT UNTIL 6 A.M, HST WEDNESDAY.”

              COUNT I - WRONGFUL FORCIBLE DISPLACEMENT
              [Violations of Hawaii Revised Statutes Chapter 127A]
               (On Behalf of Plaintiffs and Class Plaintiffs Against
                       Defendants BISSEN and ANDAYA)

       67     Plaintiffs and Class Plaintiffs hereby reallege and incorporate by

 reference each and every paragraph above, as though the same were fully set forth

 herein.

           BISSEN and ANDAYA’s Failure to Prevent The Lahaina Wildfire

       68.    On August 24, 2018, fallen electric power lines ignited a massive

 wildfire driven by Hurricane Lane’s storm-force winds in the parched hillsides and

 fallow fields above Lahaina, which miraculously stalled before it crossed Lahainaluna

 Road, sparing Lahaina town and its people from disaster. This 2018 Kaua’ula wildfire

 destroyed Kaua’ula Valley and burned 2,000 acres, destroyed 21 structures, including

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 13 homes and displaced 60 residents, and was then, the largest wildfire event in Maui

 history.

       69.    BISSEN and ANDAYA knew exactly what the problems were which

 caused the 2018 Kaua’ula wildfire, including lack of a shut off system for power lines

 at risk during high winds, lack of an emergency alert on their cell phones, lack of

 warning sirens, lack of water for firefighters, lack of an evacuation plan, and lack of

 a brush abatement program.

       70.    Pursuant to HRS 127A-5(a)(b), BISSEN, who was installed as the head

 of MEMA January 2, 2023, “had direct responsibility for emergency management

 within the county, including the organization, administration, and operation of a

 county emergency management agency” and had the duty “to perform emergency

 management functions within the territorial limits of the county.” See, also HRS

 127A-11(a). Although the 2018 Kaua’ula wildfire event had clearly demonstrated

 Lahaina’s vulnerability to devastation, BISSEN “100% ignored” his obligation to

 protect Lahaina and its residents from “lots of deaths” as a Lahaina resident had

 complained about BISSEN. BISSEN did nothing before the Lahaina wildfire to

 address the same factors which had contributed to the 2018 Kaua’ula wildfire,

 including the failure to proactively cut the energy to the power lines in anticipation

 of the fire risk, the failure to conduct a brush abatement program, the failure to blare


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 the sirens, the failure to provide sufficient water for firefighters, and the failure to

 provide for an evacuation plan. BISSEN’S failures to perform his responsibilities to

 protect Lahaina and its residents from a repeat of the 2018 Kaua’ula wildfire, resulted

 in the destruction of Lahaina by the Lahaina wildfire.           BISSEN’s conscious

 indifference to the consequences of a devastating repeat of the 2018 Kaua’ula wildfire

 was egregious and outrageous, and constituted gross negligence, and/or recklessness

 pursuant to HRS 127A-9(a)(5).

       71.    ANDAYA was appointed as the MEMA director in 2017, over five years

 before the Lahaina wildfire and prior to the 2018 Kaua’ula wildfire, and, also had the

 duty pursuant to 127A-5(b)(e) and 127A-11(a)(3), “to perform emergency

 management functions” including to prevent and protect Lahaina from a repeat of the

 2018 Kaua’ula wildfire. ANDAYA’s conscious indifference to the consequences of

 a devastating repeat of the 2018 Kaua’ula wildfire which resulted in the 2023 Lahaina

 wildfire was egregious and outrageous, and constituted gross negligence and/or

 recklessness under HRS 127A-9(a)(5).

       72.    On August 6, 7, & 8, 2023, the NWS issued multiple Red Flag Warnings

 and High Wind Watches which forecast that high wind gusts, low humidity, and dry

 and highly combustible vegetation would create the risk of “critical fire weather” for

 the Lahaina area. The NWS also predicted that the high winds could topple power


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 poles and that the power lines could ignite dry and highly combustible vegetation,

 and that “the potential exists for extreme fire behavior with any wildfire that ignites

 including that a wildfire that would spread rapidly.”

       73.    On August 8, 2023, at 6:35 a.m., strong wind gusts did, in fact, blow

 down power lines which did, in fact, ignite very dry fuels which had accumulated in

 MECO’s right-of-way at Ku’ialua Street and Ho’okahua Place across from the

 Lahaina Intermediate School. At 3:30 p.m. the high winds rekindled a fire at the

 unattended burn site which spread rapidly to hundreds of acres of dry combustible

 vegetation accumulated on fallow agricultural land owned by BISHOP ESTATE

 causing a huge conflagration, which eventually destroyed Lahaina town, caused at

 least 102 deaths, and wrongfully and forcibly displaced at least 12,000 residents,

 including Plaintiffs and Class Plaintiffs.

       74.    The Lahaina wildfire was not a surprise or an unforeseen event, because

 it was a repeat of the 2018 Kaua’ula wildfire, and the precise events which caused the

 Lahaina wildfire had been predicted by multiple Red Flag Warnings and High Wind

 Watches issued by the NWS on August, 6, 7, & 8, 2023, which had been timely

 received by BISSEN and ANDAYA.

       75.    BISSEN did not issue an Emergency Proclamation until 8:00 p.m., after

 Lahaina town had been almost totally destroyed, and all of its 12,000 residents had


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 been forcibly displaced. The Emergency Proclamation direction to “shut off . . .

 electric power connections” to the Lahaina area was never enforced because it was

 issued way too late to be of any use at all.

       76.    The failure of BISSEN and ANDAYA to take precautionary measures

 to prevent and protect Lahaina and its residents from a repeat of the 2018 Kaua’ula

 wildfire, including directing MECO to proactively deenergize its power lines during

 the High Wind Watch and Red Flag Warning conditions on August 6, 7, & 8, 2023,

 was egregious and outrageous and constituted gross negligence and/or recklessness

 and was a substantial factor in causing the Lahaina wildfire which devastated the

 town of Lahaina, killing at least 102 people and destroying approximately 3,800

 residences and businesses, rendering them uninhabitable and displacing and

 dispossessing more than 12,000 residents, including Plaintiffs and Class Plaintiffs,

 many of whom are still homeless or have dispersed to the Mainland or other locations

 around the world.

       77.    BISSEN’s and ANDAYA’s conscious indifference to the consequences

 of a devastating repeat of the 2018 Kaua’ula wildfire which was a substantial factor

 in causing the Lahaina wildfire was egregious and outrageous, and constituted gross

 negligence, and/or recklessness pursuant to HRS 127A-9(a)(5), which resulted in the

 displacement of 12,000 residents of Lahaina, including Plaintiffs and Class Plaintiffs,


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 and damages and injury to persons, to Plaintiffs and Class Plaintiffs including

 wrongful and forcible displacement, inconvenience, loss of use, relocation expenses,

 severe mental anguish, depression, emotional distress, loss of enjoyment of life, loss

 of livelihood, and loss of past and future income..

       BISSEN and ANDAYA’s conscious indifference to consequences, complete

 want of care and disregard for the rights of Plaintiffs and Class Plaintiffs was grossly

 negligent and/or reckless by clear and convincing evidence entitling Plaintiffs and

 Class Plaintiffs to an award of punitive damages.

                   BISSEN’s Untimely Emergency Proclamation

       78.    BISSEN issued an Emergency Proclamation on August 8, 2023, at

 approximately 8:00 p.m. which constitutes a signed, a written admission of his

 liability for gross negligence and/or recklessness and clear and convincing evidence

 of his liability for punitive damages for gross negligence and/or recklessness

 corroborating Plaintiffs’ claims that he knew that:

       a.     he had the direct responsibility and authority over emergency

 management within the County;

       b.      he knew that very dry conditions and strong and potentially damaging

 easterly winds caused by the passage of Hurricane Dora to the south of the State were

 contributing to the wildfire danger on Maui and in the Lahaina area;


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       c.    he knew that the potential fires threatened to cause damages, losses, and

 suffering of such character and magnitude to affect the health, welfare, and living

 conditions of a substantial number of persons on Maui and in the Lahaina area;

       d.    he knew there was need for government agencies to mobilize and

 provide immediate services to residents of the County of Maui and to mitigate

 hazardous situations in advance of the weather effects from Hurricane Dora;

       e.    he knew there was imminent danger of a state of emergency in all or any

 portion of the County of Maui of the threat of imminent disaster due to property

 damage and/ or bodily injury to residents of Maui County; and

       f.    he knew that he had the emergency power to preemptively order electric

 power connections to be shut off.

       79.   The Emergency Proclamation stated, in relevant part, as follows:

       WHEREAS, Chapter 127 A Hawaii Revised Statutes, provides for the
       establishment of County Organizations for emergency management and
       disaster relief with the Mayor having direct responsibility and authority
       over emergency management within the County; and
                                  *      * *
       WHEREAS, very dry conditions and strong and potentially damaging
       easterly winds caused by the passage of Hurricane Dora to the south of
       the State are contributing to the wildfire danger; and

       WHEREAS, these fires threaten to cause damages, losses, and suffering
       of such character and magnitude to affect the health, welfare, and living
       conditions of a substantial number of persons ...
                                 *     * *
       WHEREAS, due to the possibility of imminent disaster due to property

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       damage and/ or bodily injury to residents of Maui County, and the need
       for government agencies and representatives from the private sector to
       mobilize and provide immediate services to outer island residents, a
       Civil Defense state of emergency is authorized pursuant to Chapters 127
       A, Hawaii Revised Statues, as amended; and

       WHEREAS, the anticipated occurrence of a severe, sudden, and
       extraordinary event of damaging high winds and very dry conditions
       threatens to cause damage, loss, and suffering of such character and
       magnitude to affect the health, welfare, and living conditions of a
       substantial number of persons, and to affect the economy of Maui
       County, and is expected to be of such a nature as to warrant
       rehabilitative assistance from the County and the State; and

       WHEREAS, there is need for government agencies and representatives
       from the private sector to mobilize and provide immediate services to
       County residents and to mitigate hazardous situations in advance of the
       weather effects from Hurricane Dora; and

       WHEREAS, pursuant to sections 127A-14(b), Hawaii Revised Statutes
       ("Haw. Rev. Stat.") the Mayor is authorized to declare by proclamation
       whether an emergency or disaster has occurred, or there is an imminent
       danger or threat of an emergency or disaster and authorize actions under
       chapter 127 A, Haw. Rev. Stat., and the expenditure of funds
       thereunder; and

       WHEREAS, pursuant to Haw. Rev. Stat. §127A-12(c)(l 7), the Mayor
       may take any and all steps necessary or appropriate to carry out the
       purposes of chapter 127 A, Haw. Rev. Stat., notwithstanding that powers
       in Haw. Rev. Stat. §127A-13(b) may only be exercised during an
       emergency period;
                                   *    * *
              NOW, THEREFORE, I, RICHARD T. BISSEN, JR., Mayor of
       the County of Maui, pursuant to the authority vested in me as the Mayor
       of the County of Maui as set forth above, in order to promote and protect
       the public health, safety, and welfare of the residents and visitors of the
       County of Maui, do hereby proclaim, determine, declare, and find that:


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             1. There is imminent danger of a state of emergency in all or any
       portion of the County of Maui, as of the date and time of this
       Proclamation; and
                                 *     * *
             7. Sections 127A-12(a)(5), 127A-13(b)(3), and 127A-13(b)(4),
       Haw. Rev. Stat., and the Director of the Maui Emergency Management
       Agency is directed to take appropriate actions to direct or control, as
       may be necessary for emergency management:

                    e. Shut off water mains, gas mains, electric
                    power connections, or suspension of other
                    services;

       80.   Upon information and belief, pursuant to HRS 127A-15(a), the

 Emergency Proclamation was promulgated by posting it on the applicable state or

 county emergency management agency website on August 9, 2023.

       81.   By the time BISSEN had issued the Emergency Proclamation directing

 MEMA to shut off electric power connections, at least 102 residents had been killed,

 3,800 homes and businesses had been destroyed, and Lahaina’s 12,000 residents had

 been forcibly displaced. The wildfire damage to Lahaina town was incalculable, not

 just billions of dollars to replace burned down homes and buildings, but permanently

 ruined lives and lifelong and insurmountable burdens and hardships forcibly imposed

 upon the thousands of displaced and dispossessed residents like Plaintiffs and Class

 Plaintiffs who survived.

       82.   The Emergency Proclamation is also an admission of his liability for

 gross negligence and/or recklessness and clear and convincing evidence of his

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 liability for punitive damages for gross negligence and/or recklessness corroborating

 the Plaintiffs claims that BISSEN’s failure to timely preemptively direct MECO to

 shut off electric power connections to the Lahaina area before the Lahaina wildfire

 was ignited constituted gross negligence and/or recklessness, and was a substantial

 factor in causing the Plaintiffs’ and Class Plaintiffs damages and injury to persons

 including wrongful and forcible displacement, inconvenience, loss of use, relocation

 expenses, severe mental anguish, depression, emotional distress, loss of enjoyment

 of life, loss of livelihood, and loss of past and future income.

                     BISSEN’s Maui Lawsuit Against MECO

       83.    On August 24, 2023, BISSEN instructed and authorized Maui

 Corporation Counsel Victoria J. Takayesu and private attorney L. Richard Fried Jr.,

 to sign and file the Maui Lawsuit.

       84.    On or about August 24, 2023, BISSEN ratified and adopted the

 allegations contained in the Maui Lawsuit, which states in relevant part, as follows:

                         COUNT 11—GROSS NEGLIGENCE
              (Against MECO. HECO. HELCO. HEI. and DOES 1 through 50)

             99. Plaintiff hereby- realleges and incorporates by reference each
       and every allegation contained above as though the same were set forth
       herein in full.
             100. Defendants knew of the extreme fire danger that the high
       wind gusts posed to their overhead electrical infrastructure, particularly
       during Red Flag conditions. These risks included the fact that winds
       could topple power poles and power lines, causing them to fall to the

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       ground, ignite vegetation, and cause a wildfire that would spread
       quickly.
               101. Defendants’ 2019 Press Release indicates their knowledge
       of the known risks of wildfires associated with powerful high-wind
       gusts.
               102. Despite Defendants’ knowledge of these extreme risks,
       Defendants chose not to deenergize their power lines during the High
       Wind Watch and Red Flag Warning conditions for Maui prior to the
       Maui Fires starting.
               103. Defendants chose not to de-energize their power lines even
       after they knew some power poles and power lines had fallen and came
       in contact with the vegetation or the ground.
               104. Further, Defendants failed to de-energize their power lines,
       even after the Maui Fires started.
               105. Defendants acted with indifference to the probable
       consequences of their acts and/or omissions.
               106. In the face of knowledge of the risk of high. powerful winds
       and wildfires generally, a High Wind Watch, a Red Flag Warning, and
       specific warnings that high winds could blow down power poles and
       that fires would spread rapidly, Defendants did nothing.
               107. Defendants’ gross negligence was the direct and proximate
       cause of the damages and injuries that Plaintiff suffered.
               108. As a further direct and proximate result of Defendants’
       negligence, Plaintiff incurred significant and actual damages, as
       described herein and in an amount to be proven at trial.
                                    *    * *
               110. Defendants’ conduct was intentional and malicious, and in
       complete disregard to the rights of Plaintiff subjecting Defendants to
       awards of punitive damages. See, Exhibit D.

       85.   The Maui Lawsuit also alleged that MECO should be enjoined from

 “leaving their power lines energized in high fire risk areas of Maui during Red Flag

 Warning and/or High Wind Warning conditions”, as follows:

                        COUNT V—INJUNCTIVE RELIEF
             (Against MECO. HECO, HELCO. HEI, and DOES 1 through 50)

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             140. Plaintiff hereby realleges and incorporates by reference each
       and every allegation contained above as though the same were set forth
       herein in full.

              141. Plaintiff seeks an order enjoining Defendants from leaving
       their power lines energized in high fire risk areas of Maui during Red
       Flag Warning and/or High Wind Warning conditions.

       86.     The Maui Lawsuit alleges that HECO’s failure to de-energize power

 lines during Red Flag Warning and/or High Wind Watch conditions constituted gross

 negligence. It is undisputed that BISSEN and ANDAYA failed to de-energize power

 lines during Red Flag Warning and/or High Wind Watch conditions. Accordingly,

 it is undisputed that BISSEN’s and ANDAYA’s failure to de-energize power lines

 during Red Flag Warning and/or High Wind Watch conditions also constituted gross

 negligence.

       The Maui Lawsuit constitutes a judicial admission that BISSEN’s and

 ANDAYA’s gross negligence was a substantial factor in causing Plaintiff’s and Class

 Plaintiffs, damages and injury to persons, including wrongful and forcible

 displacement, inconvenience, loss of use, relocation expenses, severe mental anguish,

 depression, emotional distress, loss of enjoyment of life, loss of livelihood, and loss

 of past and future income.

       87.     The Maui Lawsuit also constitutes a judicial admission and is clear and

 convincing evidence corroborating Plaintiffs’ and Class Plaintiffs’ claims that


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 BISSEN’s and ANDAYA’s gross negligence and/or recklessness entitle Plaintiffs and

 Class Plaintiffs to an award of punitive damages.

                      Additional Violations of HRS Chapter §127A

         88.   The Emergency Management Statutes, HRS Chapter §127A, provided

 BISSEN and ANDAYA with the emergency powers necessary to prevent a repeat of

 the 2018 Kaua’ula wildfire, and to prepare for and prevent the 2023 Lahaina wildfire

 disaster.

         89.   Hawaii Revised Statutes Chapter (“HRS”) §127A-1 provides, in part,

 that:

         (a) Because of the existing and increasing possibility of the occurrence
         of disasters or emergencies of unprecedented size and destructiveness
         resulting from natural or human-caused hazards, and in order to ensure
         that the preparations of this State will be adequate to deal with such
         disasters or emergencies; to ensure the administration of state and
         federal programs providing disaster relief to individuals; and generally
         to protect the public health, safety, and welfare, and to preserve the
         lives, property, and environment of the State, it is hereby found and
         declared to be necessary:
              (1) To provide for emergency management by the State, and to
         authorize the creation of local organizations for emergency management
         in the counties of the State;
            (2) To confer upon the governor and upon the mayors of the counties
         of the State the emergency powers necessary to prepare for and respond
         to emergencies or disasters;.

         90.   At all times, BISSEN was the head of the MEMA pursuant to HRS

 §127A-1(a)(2). See, also HRS §127A-5(a) and HRS §127A-11(a).


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       91.    On August 6, 7, & 8, 2023, BISSEN, as the head of MEMA, had

 multiple emergency powers necessary to prevent a repeat of the 2018 Kaua’ula

 wildfire, and to respond to 2023 Red Flag Warnings and prepare for the imminent

 danger or threat of a disastrous wildfire to Lahaina, by declaring a state of emergency

 to shut off electric power connections to the Lahaina area, pursuant to HRS §127A-

 1(a)(2) and HRS §127A-14(b) and HRS §127A-13(b)(3).

       92.    On August 6, 7, & 8, 2023, BISSEN and ANDAYA knew the causes of

 the 2018 Kaua’ula wildfire and had received written notice of multiple Red Flag

 Warnings and High Wind Watches issued by the National Weather Service covering

 the Lahaina area, prior to the ignition of the 2023 Lahaina wildfire on August 8,

 2023, at approximately 6:35 a.m.

       93     On August 6, 7, & 8, 2023, BISSEN and ANDAYA knew that the Red

 Flag Warnings and High Wind Watches indicated a state of emergency, and the

 existence of an imminent danger or threat of an catastrophic wildfire disaster by

 “critical fire weather conditions” and “extreme fire behavior” for the Lahaina area,

 prior to the ignition of the 2023 Lahaina wildfire on August 8, 2023, at approximately

 6:35 a.m.

       94.    The Fire Weather Planning Forecast issued on August 7, 2023,

 specifically warned that, “[v]ery dry fuels (KDBI around 600) combined with strong


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 and gusty easterly winds with low humidities below 45% will produce critical fire

 weather conditions through tonight.”

       95.    The High Wind Watches issued on August 6, 7, & 8, 2023, expressly

 warned that “[d]amaging winds may blow down trees and power lines.”

       96.    On August 6, 7, & 8, 2023, BISSEN and ANDAYA knew that the high

 winds which the NWS had predicted could topple power poles and knock down

 power lines would be a repeat of the 2018 Kaua’ula wildfire and ignite the hundreds

 of acres of highly combustible vegetation accumulated in the underlying and adjacent

 fallow sugar cane fields.

       97.    On August 6, 7, & 8, 2023, BISSEN and ANDAYA also knew that if

 MECO’s overhead electric power lines fell and ignited the dry combustible

 vegetation, the high winds could cause the raging wildfire to rapidly spread and jump

 Lahainaluna Road which would devastate Lahaina town and displace thousands of

 residents.

       98.    In fact, on August 7, 2023, BISSEN knew that the high winds already

 had toppled a live electric power line which had cause a wildfire in Kula, because he

 self-reported that he “had been in communication with the county’s Emergency

 Operating Center during the fires, including a virtual meeting the morning of August

 8 because the Kula fire had started late the night before.”


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       99.    Based on the 2018 Kaua’ula wildfire and the multiple Red Flag

 Warnings and High Wind Watches issued by the NWS on August 6, 7, & 8, 2023, and

 “the Kula fire had started late the night before,” on August 7, 2023 BISSEN and

 ANDAYA had a duty pursuant to HRS §127A-13(b)(3) to exercise their power to

 shut off electric power connections to the Lahaina area prior to the ignition of the

 2023 Lahaina wildfire.

       100. On August 6, 7, & 8, 2023, BISSEN and ANDAYA’s failure to exercise

 their emergency powers to direct MECO to preemptively shut off electric power

 connections to the Lahaina area caused an energized electric power line to fall and

 ignite a brush fire in the hundreds of acres of highly combustible vegetation

 accumulated in the underlying fallow sugar cane fields adjacent to the Ku’ialua Street

 cul-de-sac on August 8, 2023.

       101. The brush fire flared up and spread rapidly to hundreds of acres of dry

 and highly combustible vegetation causing a huge conflagration which devastated

 Lahaina town, causing at least 102 deaths, severely injuring thousands, destroying

 2,500 residences, thereby forcibly displacing and dispossessing 12,000 residents,

 including Plaintiffs and Class Plaintiffs.

       102. On August 6, 7, & 8, 2023, BISSEN grossly negligently failed to

 perform his duty and direct responsibility for emergency management functions


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 within Maui county, including timely declaration of a state of emergency pursuant to

 HRS §127A-14(b), and the timely exercise of his emergency power to preemptively

 shut off electric power connections to the Lahaina area prior to the ignition of the

 Lahaina wildfire violated HRS §127A-5 (a) and (b), and HRS §127A-13(b)(3).

       103. BISSEN’s and ANDAYA’s entire want of care, conscious indifference

 to consequences of the 2018 Kaua’ula wildfire and the Red Flag Warnings and High

 Wind Watches issued by the NWS on August 6, 7, & 8, 2023, and the Kula fire which

 had started late the night before, violated HRS §127A-5 (a) and (b), HRS §127A-

 14(b) and HRS §127A-13(b)(3), was grossly negligent and/or reckless and was

 egregious and outrageous and was a proximate cause of the Lahaina wildfire and a

 substantial factor in causing the Plaintiffs and Class Plaintiffs damages and personal

 injuries, as aforesaid, and constituted actionable gross negligence and/or recklessness

 pursuant to HRS §127A-9(a)(5).

       104. On August 6, 7, & 8, 2023, BISSEN failed his duty and direct

 responsibility for emergency management within Maui county, pursuant to HRS

 §127A-5(a), by failing prevent a repeat of the 2018 Kaua’ula wildfire, and failing to

 adequately prepare for timely and effective responses to an imminent threat of Red

 Flag Warning disasters and emergencies to Lahaina town.

       105. BISSEN’s entire want of care, conscious indifference to consequences,


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 and failure to prevent a repeat of the 2018 Kaua’ula wildfire, and to prepare for timely

 and effective responses to an imminent threat of Red Flag Warning disasters and

 emergencies to Lahaina town in violation of HRS §127A-5(a) was egregious and

 outrageous, and constituted gross negligence, and/or recklessness, pursuant to HRS

 127A 9(a)(5).

       106. Pursuant to HRS §127A-5(b), BISSEN had the duty to perform all

 emergency functions within the county and to organize and coordinate all emergency

 management plans within MEMA, MFD and the Maui Police Department in order

 to prevent a repeat of the 2018 Kaua’ula wildfire and to prepare for the timely and

 effective response to Red Flag Warning of an imminent threat of a wildfire disaster

 to Lahaina town.

       107. On August 27, 2023, Jon Heggie, a public information officer of the

 Joint Information Center, Maui Communications Team, claimed that, “the only

 continuous communication the county had with Hawaiian Electric’s Maui subsidiary

 was to check on the status and clearance of downed transmission lines and poles

 blocking roads and highways.”

       108. BISSEN’s and ANDAYA’s entire want of care, conscious indifference

 to consequences, and failure to perform emergency management functions and to

 coordinate all emergency management plans within MEMA, MFD, and the Maui


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 Police Department, in order to prevent a repeat of the 2018 Kaua’ula wildfire, and to

 prepare for Red Flag Warning conditions on August 6, 7, & 8, 2023, violated HRS

 §127A-1(a)(2) and HRS §127A-5(b), and was egregious and outrageous and

 constituted gross negligence, and/or recklessness pursuant to HRS 127A 9(a)(5).

        105. Upon information and belief, BISSEN knew that the NWS had issued

 multiple Red Flag Warnings and High Wind Watches on August 6, 7, & 8, 2023, but

 failed to report to the EOC before the Lahaina wildfire had already been ignited on

 August 8, 2023, at approximately 6:35 a.m., which flared up and destroyed Lahaina

 town and forcibly displaced its 12,000 residents, including Plaintiffs and Class

 Plaintiffs.

        106. BISSEN’s entire want of care, conscious indifference to consequences

 and failure to report to the EOC on August 6, 7, & 8, 2023, before the Lahaina

 wildfire had already been ignited violated HRS §127A-5(b), and was egregious and

 outrageous and constituted gross negligence, and/or recklessness pursuant to HRS

 127A 9(a)(5).

        107. ANDAYA knew that the NWS had issued multiple Red Flag Warnings

 and High Wind Watches on August 6, 7, & 8, 2023, but never reported to the EOC

 until August 9, 2023, a day after the wildfire had already substantially destroyed

 Lahaina town and forcibly displaced its 12,000 residents, including Plaintiffs and


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 Class Plaintiffs. Instead of being present at the EOC during Red Flag Warning

 conditions, on August 7, 2023, ANDAYA went to Honolulu to attend a FEMA

 conference. Although ANDAYA was notified of the Olinda fire in the early morning

 on August 8, ANDAYA decided to stay in Honolulu, and his emails with his

 assistant, Gaye Gabuat, clearly demonstrate his lack of concern and wilful disregard

 for the lives and safety of the Lahaina residents as follows:

       3:53 p.m.
       Gaye Gabuat to Herman Andaya: “Lol. Poor chief looks so overwhelm.
       Chief is wanting help from the military. Not sure of what.”
       4:01 p.m.
       Andaya to Gabuat: “This is crazy. How is everyone holding up?”
       4:03 p.m.
       Andaya to Gabuat: “Should I come home?
       Gabuat to Andaya: “PIOs are funny. There are 3 of them and they look
       scared and overwhelmed. . . I think they need a hug lol to calm down.”
       9:37 p.m.
       Andaya to Gabuat: “How’s the other fires?”
       9:38 p.m.
       Gabuat to Andaya: “Still burning.”
       Andaya to Gabuat: “Wow. . . lol.”
       Gabuat to Andaya: “Now we have Kihei fire near Pulehu Road.”
       Andaya to Gabuat: “You just keep making my day.”
       10:58 p.m.
       Hawaii Emergency Management Agency administrator James Barros to
       Andaya: “LtG just called. . . Very concerned.”
       Andaya to Barros: “Yes. . . . this is really bad. I’m flying back
       tomorrow.”


       ANDAYA’s emails with MEMA during the Lahaina wildfire, such as, “Wow.

 . . lol” and “You just keep making my day,” demonstrate that he did not know and did

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 not care what was occurring and what options were being explored to protect the

 public. Instead, ANDAYA and his MEMA staff were just “laughing out loud” while

 Lahaina burned.

       108. In his resignation speech on August 18, 2023, ANDAYA unabashedly

 and arrogantly stated that he had “no regrets” for failing to sound the Lahaina sirens

 to warn the Lahaina residents of the wildfire on August 8, 2023, despite the fact that

 he knew that many residents may have been killed, injured and/or traumatized by his

 failure to do so. ANDAYA’s resignation constitutes an admission that he had

 abandoned his post on August 6, 7, & 8, 2023, and that his entire want of care,

 conscious indifference to consequences and failure to preemptively shut off electric

 power connections to the Lahaina area before the Lahaina wildfire commenced on

 August 8, 2023, and to sound the emergency siren warning the Lahaina residents of

 the wildfire violated HRS §127A-1(a)(2) and HRS §127A-5(b), and was egregious

 and outrageous and constituted gross negligence, and/or recklessness pursuant to

 HRS 127A 9(a)(5).

       109. Although the NWS had issued Red Flag Warnings and High Wind

 Warnings on August 6, 7, & 8, 2023, BISSEN and ANDAYA failed to fully activate

 the EOC until August 8, 2023 at 4:30 p.m., after Lahaina had already been

 substantially devastated, and after its 12,000 residents, including Plaintiffs and Class


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 Plaintiffs, had already been forcibly displaced.

       110. BISSEN’s and ANDAYA’s entire want of care, conscious indifference

 to consequences, and failure to timely and fully activate the EOC on August 6, 7, &

 8, 2023, in order to prevent a repeat of the 2018 Kaua’ula wildfire, and to prepare for

 timely and effective responses to an imminent threat of Red Flag Warning and High

 Wind Warnings before the Lahaina wildfire had been ignited, and before it had

 devastated Lahaina and displaced its 12,000 residents, including Plaintiffs and Class

 Plaintiffs, violated HRS §127A-5(b), and was egregious and outrageous and

 constituted gross negligence, and/or recklessness pursuant to HRS 127A 9(a)(5).

       111. Upon information and belief, BISSEN and ANDAYA failed to timely

 perform emergency management functions and to coordinate all emergency

 management plans within the county of Maui for training purposes and to monitor the

 response and timeliness of MEMA, MFD, and the Maui Police Department before

 and in response to Red Flag Warning conditions on August 6, 7, & 8, 2023.

       112.     The failure of BISSEN and ANDAYA to perform emergency

 management functions as set out in paragraph 108 above constituted gross negligence

 and/or recklessness, and violated HRS §127A-1(a)(2) and HRS §127A-5(b).

       113. Pursuant to HRS §127A-5(i), BISSEN, had a duty and direct

 responsibility to coordinate, develop, and implement a comprehensive emergency


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 management plan for the county and submit annual reports to the administrator on the

 status and updates of the plan in order to prevent a repeat of the 2018 Kaua’ula

 wildfire, and to ensure the timely and effective response to the imminent threat of Red

 Flag Warning disasters and emergencies to the Lahaina area.

       114. Upon information and belief, prior to August 8, 2023,BISSEN had failed

 to coordinate, develop, and implement a comprehensive emergency management plan

 to submit to the administrator on the status and updates of the plan in order to prevent

 a repeat of the 2018 Kaua’ula wildfire, and to ensure the timely and effective

 response to the imminent threat of Red Flag Warning disasters and emergencies to the

 Lahaina area.

       115. BISSEN’s entire want of care, conscious indifference to consequences

 and failure to coordinate, develop, and implement a comprehensive emergency

 management plan to submit to the administrator on the status and updates of the plan

 to prevent a repeat of the 2018 Kaua’ula wildfire, and to ensure the timely and

 effective response to the imminent threat of Red Flag Warning disasters and

 emergencies to the Lahaina area violated HRS §127A-5(I), and was egregious and

 outrageous and constituted gross negligence, and/or recklessness pursuant to HRS

 §127A-9(a)(5).

       116. Upon information and belief, BISSEN did not discover that anyone had


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 died in the August 8, 2023 Lahaina wildfire, until August 9, 2023.

       117. MEMA’s failure to continuously communicate with the county agencies,

 including the Maui Fire Department and the Maui Police Department on August 6.

 7, & 8, 2023, constituted negligence and gross negligence and was a substantial factor

 in the causation of the Plaintiffs’ Class Plaintiffs’ damages and personal injuries.

       118. Pursuant to HRS §127A-5(g), BISSEN had the duty to establish a

 procedure for the appointment and designation of stand-by officers during an

 emergency period, who shall serve in the event of the unavailability of the officers

 for whom they are standing-by.

       119. Upon information and belief, on August 29, 2023, BISSEN admitted

 that, “I’m not sure who was in charge” of MEMA on August 8, 2023.

       120. Upon information and belief, on August 29, 2023, BISSEN stated that

 he “thinks Herman Andaya, was in charge” even though he knew, or should have

 known, that ANDAYA was attending a Federal Emergency Management Agency

 conference on Oahu.

       121. Upon information and belief, on August 29, 2023, BISSEN stated that

 “he didn’t know the ‘chain of command’ if Andaya was off island at the time.”

       122. BISSEN’s entire want of care, conscious indifference to consequences

 and failure to perform his duty to establish a procedure for the appointment and


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 designation of stand-by officers, including, but not limited to, his ignorance of who

 was in charge of MEMA, if anyone, in the absence of ANDAYA, violated HRS

 §127A-5(g) and was egregious and outrageous and constituted gross negligence

 and/or recklessness pursuant to HRS §127A-9(a)(5).

       123. On, or about, August 27, 2023, the Honolulu Star-Advertiser’s observed

 that, “On the day of the tragedy that killed at least 115 people, first responders were

 overwhelmed with reports of fallen power lines and snapped electric poles amid wind

 gusts of up to 60 mph, yet Maui County did not ask Hawaiian Electric to turn off the

 power during red flag conditions.”

       124. Jon Heggie replied to the Honolulu Star-Advertiser in an interview and

 stated, “The county cannot ask independent, privately-owned companies, outside of

 the fire code and public resource codes, to alter their business practices, minus a

 violation of either of those (codes),”

       125. On August 27, 2023, BISSEN and/or ANDAYA, knew that Jon Heggie’s

 public statement was false and misleading because, a) because HRS 127A-13(b)(3)

 expressly grants them the power to “shut off electrical power connections” to

 Lahaina, b) on August 8, 2023, BISSEN had issued an Emergency Proclamation,

 directing the Director of the Maui Emergency Management Agency to “shut off . . .

 the electric connections” for the Lahaina area which was not based on a “fire code


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 and public resource codes” violation, and c) on August 24, 2023, BISSEN had filed

 a lawsuit alleging that the HEI Defendants were guilty of “gross negligence” for

 failure to “de-energize its power lines” during Red Flag Warning and High Wind

 Watch conditions without alleging any “fire code or public resource code” violation.

       126. BISSEN’s and/or ANDAYA’s failure to correct Heggie’s false and

 misleading statement constitutes clear and convincing evidence of their gross

 negligence and was in complete disregard to the rights of Plaintiffs and Class

 Plaintiffs entitling Plaintiffs and Class Plaintiffs to awards of punitive damages in

 amounts to be proven at trial.

       127. BISSEN’s and/or ANDAYA’s violations of HRS §127A-5(a), HRS

 §127A-5(b), HRS §127A-5(c), HRS §127A-5(e), HRS §127A-5(g), HRS §127A-

 14(b) and/or HRS §127A-13(b)(3), were substantial factors in causing the Lahaina

 wildfire and in causing Plaintiffs and Class Plaintiffs to suffer damages and injury to

 persons including wrongful and forcible displacement, inconvenience, loss of use,

 relocation expenses, severe mental anguish, depression, emotional distress, loss of

 enjoyment of life, loss of livelihood, and loss of past and future income.

       128. BISSEN’s and /or ANDAYA’s                entire want of care, conscious

 indifference to consequences, and violations of HRS §127A-5(a), HRS §127A-5(b),

 HRS §127A-5(c), HRS §127A-5(e), HRS §127A-5(g), HRS §127A-14(b) and/or HRS


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 §127A-13(b)(3) was egregious and outrageous and constituted gross negligence

 and/or recklessness under HRS §127A-9(a)(5).

        129. Pursuant to HRS §127A-9(a)(5), on August 6, 7, & 8, 2023, BISSEN and

 ANDAYA were “persons engaged in emergency management functions” and are

 “civilly liable for . . . injury to persons . . . as a result of any act or omission in the

 course of the employment or duties under this chapter.”

        130. BISSEN’s and/or ANDAYA’s violations of HRS Chapter 127A, as

 aforesaid constitutes gross negligence and/or recklessness in violation of HRS

 §127A-9(a)(5).

        131. Pursuant to HRS §127A-8 (a) and (c), BISSEN and ANDAYA are

 “emergency workers” and are deemed to be “county employees” who “shall have the

 powers, duties, rights, and privileges of such in the performance of their duties.”

        132. HRS §127A-9(a)(5) provides that, in cases of gross negligence, or

 recklessness, BISSEN and ANDAYA, who were persons engaged in emergency

 management functions, “shall be civilly liable for . . . injury to persons . . . as a result

 of any act or omission in the course of the employment or duties under this chapter.”

        133. Pursuant to HRS §127A-9(a)(5), BISSEN and ANDAYA are civilly

 liable for gross negligence and/or recklessness and violations of HRS Chapter 127A,

 which are substantial factors in causing the Plaintiffs and Class Plaintiffs to suffer


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 damages and injury to persons including wrongful and forcible displacement,

 inconvenience, loss of use, relocation expenses, severe mental anguish, depression,

 emotional distress, loss of enjoyment of life, loss of livelihood, and loss of past and

 future income, and MAUI is liable to Plaintiffs and Class Plaintiffs for their damages

 pursuant to HRS §127A-8(a) and (c), and the doctrine of respondeat superior.

       134. BISSEN’s and/or ANDAYA’s violations of HRS Chapter 127A,

 constituted clear and convincing evidence of their gross negligence and/or

 recklessness, was outrageous and egregious and entirely wanting of care and

 indifferent to the probable consequences of their acts and/or omissions which was in

 complete disregard to the rights of Plaintiffs and Class Plaintiffs entitling Plaintiffs

 and Class Plaintiffs to an award of punitive damages.

       135. BISSEN and/or ANDAYA are jointly and severally liable for the

 Plaintiffs’ damages and punitive damages as described herein.

             COUNT II - FAILURE TO POST FIRE WATCH
             [Liability for Flare-Up Causing Lahaina Wildfire]
     (On Behalf of Plaintiffs and Class Plaintiffs Against Defendant MFD)

       136. Plaintiffs hereby reallege and incorporate by reference, all of the

 allegations set forth above, as though fully set forth herein.

       137. On August 8, 2023, MFD was a department of MAUI, and its MFD’s

 personnel were employees of MAUI.


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       138. On August 6, 7, & 8, 2023, MFD received multiple notices that Red

 Flag Warning and High Wind Watches were in effect, which meant the existence of

 imminent danger or threat of an emergency or disaster due to extreme and critical fire

 danger from August 6 through August 9, 2023, for the Lahaina area.

       139. On August 8, 2023, at approximately 6:35 a.m., the high gusty winds

 knocked down an energized MECO electric power line adjacent to Ku’ialua Street

 and Ho’okahua Place across from the Lahaina Intermediate School, about a mile

 mauka of the town of Lahaina. The energized electric power line fell on highly

 combustible vegetation accumulated in the MECO right-of-way beneath or adjacent

 to MECO’s power lines which ignited a wildfire that spread rapidly to acres of the

 highly combustible vegetation which had accumulated on fallow land owned by

 BISHOP ESTATE .

       140. MFD immediately responded to the wildfire and deemed it to be “100%

 contained” at 8:30 a.m., and declared it to be “extinguished” at 2:17 p.m. At 2:18

 p.m. the entire fire team returned to the station for “rehabilitation.”

       141. MFD knew that Red Flag Warning conditions could cause the fire to

 rekindle and spread rapidly to hundreds of acres of dry and highly combustible

 vegetation on BISHOP ESTATE ’ lands and to Lahaina town which was downwind

 and makai of the burn site.


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       142. MFD knew that, during the Red Flag Warning and High Wind Watch

 conditions, the burn site posed an imminent danger or threat of an emergency or

 disaster to the residents and homes in Lahaina town, and that it was reasonable and

 necessary to post a fire watch to prevent and/or extinguish any flare-up to protect the

 people, homes, and businesses located in and around Lahaina town.

       143. At approximately 2:55 p.m. on August 8, 2023, MFD received reports

 that high gusty winds had rekindled the fire at the end of the cul- de-sac of Ku’ialua

 Street which was spreading rapidly to the hundreds of acres of highly combustible

 vegetation accumulated on adjacent lands.

       144. By the time MFD responded and arrived back at the site of the rekindled

 fire, at 3:04 p.m. MFD encountered smoke and bad visibility. MFD crew members

 stated that they had never felt winds like that before.

       145. By then, the rekindled fire had already spread to the highly combustible

 vegetation accumulated on adjacent lands, and MFD was unable to contain the

 wildfire, which had spread rapidly downwind and was already burning houses and

 buildings mauka of Lahaina town. At approximately 3:17 p.m. the wildfire jumped

 the Bypass at Kelawea Mauku Makai Park and started to burn the houses and

 buildings located in Lahaina town.

       146. The Lahaina wildfire continued to spread rapidly makai and eventually


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 burned and devastated the entire town of Lahaina and surrounding areas.

       147. By the morning of August 9, 2023, the entire town of Lahaina had been

 destroyed.

       148. On September 20, 2023, a Maui firefighter admitted that “when we left

 [the scene of the fire] we were confident it was out, but obviously we were wrong.”

       149. MFD’s failure to post a fire watch at the burn site during Red Flag

 Warning and High Wind Watch conditions was a substantial factor in the

 uncontrollable flare-up which spread rapidly to hundreds of acres of dry and highly

 combustible vegetation on BISHOP ESTATE ’ lands, which eventually burned down

 Lahaina town and displaced thousands of residents, including Plaintiffs and Class

 Plaintiffs. If MFD had posted a fire watch at the burn site, it could have extinguished

 the flare-up and prevented the fire from burning out of control and destroying

 Lahaina town.

       150. MFD prematurely left the burn scene and its failure to post a fire watch

 during Red Flag Warning and High Wind Watch conditions was negligent, grossly

 negligent, and/or reckless, and a substantial factor in causing the Lahaina wildfire and

 displacement of thousands of residents, including Plaintiffs and Class Plaintiffs.

       151. MFD’s failure to post a fire watch during Red Flag and High Wind

 \Watch conditions was a substantial factor in causing the Plaintiffs’ and Class


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 Plaintiffs’ damages and injury to persons including wrongful and forcible

 displacement, inconvenience, loss of use, relocation expenses, severe mental anguish,

 depression, emotional distress, loss of enjoyment of life, loss of livelihood, and loss

 of past and future income. damages,

       152. MFD is an agency or department of MAUI, and the fire fighters are

 employees of MAUI which is liable for indemnification under the doctrine of

 respondeat superior for the negligence, gross negligence, and/or recklessness of

 MFD employees which caused or contributed to the Lahaina wildfire, thereby

 rendering Plaintiffs’ and Class Plaintiffs’ residences inhabitable, and was a

 substantial factor in causing the Plaintiffs and Class Plaintiffs to suffer damages and

 injury to person including wrongful and forcible displacement, inconvenience, loss

 of use, relocation expenses, severe mental anguish, depression, emotional distress,

 loss of enjoyment of life, loss of livelihood, and loss of past and future income.

                       COUNT III - COUNTY OF MAUI
       [Indemnity Under Respondeat Superior and HRS Chapter 127A]
     (On Behalf of Plaintiffs and Class Plaintiffs Against Defendant MAUI)

       153. Plaintiffs hereby reallege and incorporate by reference, all of the

 allegations set forth above, as though fully set forth herein.

       154. BISSEN was directly responsible for emergency management within the

 county, including the organization, administration, and operation of MEMA. HRS-


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 §127A-5(a)

       155. MEMA performed emergency management functions within the

 territorial limits of the county of Maui, including coordination of all emergency

 management plans within the county. HRS-§127A-5(b)

       156. MAUI is responsible for the establishment, naming, and operation of

 MEMA, under the mayor's direction. HRS-§127A-5(c)

       157. At all times, BISSEN and ANDAYA were "emergency workers" during

 emergencies or disasters and engaged in carrying out the duties set forth in HRS

 Chapter 127A, and their rights in or under the laws relating to indemnification under

 the doctrine of respondeat superior, shall not be adversely affected. HRS

 §127A-8(a)(b)

       158. At all times, BISSEN and ANDAYA were engaged in the performance

 of duty for the county of Maui, pursuant to HRS Chapter 127A, and are deemed

 county employees with the powers, duties, rights, and privileges of such in the

 performance of their duties, including indemnification under the doctrine of

 respondeat superior. HRS §127A-8(c).

       159. The county of Maui is civilly liable for injury to Plaintiffs and Class

 Plaintiffs as a result of BISSEN’s and ANDAYA’s gross negligence, and/or

 recklessness in the course of their employment or duties pursuant to HRS Chapter


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 127A, including damages suffered by Plaintiffs and Class Plaintiffs for wrongful and

 forcible displacement and damages and personal injury, loss of use, relocation costs,

 severe mental anguish, depression, emotional distress, loss of enjoyment of life, loss

 of livelihood, and loss of past and future income. HRS §127A-9(a)(5).

                      COUNT IV - HEI DEFENDANTS
             [Failure to Preemptively Deenergize Lines, Clear
                 Rights-of-Way and Defective Infrastructure]
     (On Behalf of Plaintiffs and Class Plaintiffs Against HEI Defendants)

       160. Plaintiffs hereby incorporates by reference and realleges each and every

 paragraph above as though fully set forth herein.

  HEI Defendants’ Negligent Failure to Preemptively De-energize Power lines

       161. On August 6, 7, & 8, 2023, HEI Defendants received multiple notices

 that the NWS had issued [multiple] Red Flag Warnings and High Wind Watches for

 the Lahaina area, which warned of an imminent danger or threat of an emergency or

 disaster caused by high winds knocking down energized power lines and igniting the

 dry and highly combustible vegetation accumulated in its right-of-ways which would

 spread rapidly cause a catastrophic wildfire.

       162. Based on the 2018 Kaua’ula wildfire, HEI Defendants also knew that

 extended drought, high winds, high temperatures, and low humidity existed in

 Lahaina, and that it was reasonably foreseeable and/or highly probable that its high

 voltage overhead transmission lines could fall and ignite dry and highly combustible

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 vegetation accumulated in its rights-of-way which would spread rapidly to hundreds

 of acres of adjacent fallow agricultural land owned by BISHOP ESTATE and other

 lands in an around Lahaina and cause a catastrophic wildfire which could devastate

 Lahaina town.

         163. On August 6, 7, & 8, 2023, HEI Defendants knew that preemptively de-

 energizing its power lines was an effective way of preventing a catastrophic wildfire

 during Red Flag Warning and High Wind Watches conditions and protecting

 residents’ homes from destruction and its residents from forcible displacement. .

         164. HEI Defendants’ knowledge of the 2018 Kaua’ula wildfire and Red Flag

 Warnings and High Wind Watch conditions imposed a duty on the HEI Defendants

 to preemptively de-energize its power lines in the Lahaina area to prevent downed

 power lines from igniting dry and highly combustible vegetation accumulated in its

 rights-of-way in order to prevent a catastrophic wildfire from destroying Lahaina

 town.

         165. On August 8, 2023, high gusty winds caused a power line owned by HEI

 Defendants to fall and ignite the dry highly combustible vegetation accumulated in

 the right-of-way which spread rapidly to hundreds of acres of dry vegetation on land

 owned by BISHOP ESTATE and other lands owned by others which created a

 catastrophic wildfire which destroyed thousands of homes and buildings in Lahaina


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 town and displaced thousands of residents, including Plaintiffs and Class Plaintiffs.

        166. On August 6, 7, & 8, 2023, HEI Defendants’ failure to preemptively de-

 energize their electric power lines in the Lahaina area during Red Flag Warning

 conditions was the cause of an energized power line to fall and ignite dry highly

 combustible vegetation accumulated in its right-of-way which spread rapidly to

 hundreds of acres of adjacent highly combustible vegetation accumulated on land

 owned by BISHOP ESTATE and other landowners thereby causing a catastrophic

 wildfire which destroyed 3,800 homes and buildings in Lahaina and caused thousands

 of residents to be displaced or rendered homeless, including Plaintiffs and Class

 Plaintiffs..

        167. On August 6, 7, & 8, 2023, the HEI Defendants failure to preemptively

 de-energize their electric power lines in the Lahaina area during Red Flag Warning

 conditions was negligent and/or grossly negligent and was a substantial factor in

 causing the Plaintiffs and Class Plaintiffs damages and injury to persons including

 wrongful and forcible displacement, inconvenience, loss of use, relocation costs,

 severe mental anguish, depression, emotional distress, loss of enjoyment of life, loss

 of livelihood, and loss of past and future income.

  .              HEI Defendants Negligent Failure to Clear the Highly
                Combustible Vegetation Accumulated in its Right-of Way

        168. Based on the 2018 Kaua’ula wildfire, HEI Defendants knew that the dry

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 and highly combustible vegetation accumulated on its rights-of-way could be ignited

 by a downed energized power line which would spread rapidly to the adjacent land

 and cause a catastrophic wildfire which would destroy thousands of homes and

 business in Lahaina resulting in thousands of residents to be displaced and/or

 rendered homeless.

       169. The HEI Defendants had a duty to use reasonable care to manage and/or

 clear the dry and highly combustible vegetation accumulated on their righta-of-way

 to prevent against ignition of a fire loss to adjacent properties, including the homes

 and buildings in Lahaina.

       170. HEI Defendants failed to regularly manage and clear the dry and highly

 combustible vegetation in its rights-of-way in the Lahaina area and allowed this

 vegetation to accumulate directly beneath and adjacent to its energized power lines

 which created an unreasonable and highly dangerous risk of wildfire condition.

       171. On August 8, 2023, high gusty winds caused an energized power line

 owned by HEI Defendants to fall and ignite the dry highly combustible vegetation

 accumulated in the right-of-way located at Ku’ialua Street and Ho’okahua Place

 which spread rapidly to hundreds of acres of dry vegetation accumulated on adjacent

 land owned by BISHOP ESTATE and other landowners.

       172. HEI Defendants’ failure to reasonably manage and clear the dry and


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 highly combustible vegetation accumulated on its rights-of-way in the Lahaina area

 was negligent and/or grossly negligent and/or a violation of HRS §132-8, and a

 substantial factor in causing the Lahaina wildfire which displaced thousands of

 residents, including Plaintiffs and Class Plaintiffs, and caused them to suffer damages

 and injury to persons including wrongful and forcible displacement, inconvenience,

 loss of use, relocation expenses, severe mental anguish, depression, emotional

 distress, loss of enjoyment of life, loss of livelihood, and loss of past and future

 income.

      HEI Defendants Negligently Designed, Maintained and/or Installed
      Power Line Causing Them to Fall and Ignite the Lahaina Wildfire

       173. At all times prior to the Lahaina wildfire, HEI Defendants owned or

 controlled rights-of-way and designed, constructed, and owned infrastructure,

 including poles and electric power lines, which it used to transmit electricity to the

 residents and businesses located in the Lahaina area.

       174. HEI Defendants had a duty to properly design, maintain, and repair the

 electric poles and high voltage transmission lines, and other equipment associated

 with their transmission of electricity, including the installation of a PSPS system, to

 prevent fallen power lines from igniting wildfires and to protect the residents of

 Lahaina.

       175. Based on the 2018 Kaua’ula wildfire, HEI Defendants knew or should

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 have known that their electric poles and high voltage transmission lines were

 defective and/or otherwise unfit or inadequate to safely transmit electricity in the

 Lahaina area during Red Flag Warning and High Wind Watch conditions.

       176. HEI Defendants’ failure to design, maintain and continuously upkeep

 their utility infrastructure, including power lines and poles and installation of a PSPS

 system, was negligent and grossly negligent and/or a violation of HRS §132-8, and

 a substantial factor in causing the Lahaina wildfire which caused thousands of

 residents, including Plaintiffs and Class Plaintiffs to suffer damages and injury to

 persons including wrongful and forcible displacement, inconvenience, loss of use.

 relocation expenses, severe mental anguish, depression, emotional distress, loss of

 enjoyment of life, loss of livelihood, and loss of past and future income.

       177. HEI Defendants’ conduct, as aforesaid, was intentional and in complete

 disregard to the rights of the Plaintiffs and Class Plaintiffs entitling Plaintiffs and

 Class Plaintiffs to an award of punitive damages.

       178    HEI Defendants are jointly and severally liable for the Plaintiffs’

 damages and punitive damages.

       179. On August 27, 2023, the HEI Defendants acknowledged that their

 downed electrical equipment ignited the August 8, 2023, Lahaina morning fire.

                    COUNT V - NEGLIGENT LANDOWNER
              [Failure to Manage Highly Combustible Vegetation to

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          Prevent Wildfires From Spreading to Adjoining Properties]
              (On Behalf of Plaintiffs and Class Plaintiffs Against
                       Defendant BISHOP ESTATE )

       180. Plaintiffs hereby reallege and incorporate by reference, all of the

 allegations set forth above, as though fully set forth herein.

       181. The Lahaina wildfire scorched about 3,000 acres of dry and highly

 combustible vegetation and grasses growing and accumulating on fallow agricultural

 lands, owned by, or adjoining lands owned by BISHOP ESTATE. The fires which

 burned on lands owned by BISHOP ESTATE spread rapidly to the Lahaina town and

 eventually destroyed or rendered uninhabitable almost all of the residences in Lahaina

 town, including residences in which Plaintiffs and Class Plaintiffs resided.

       182. Based on the 2018 Kaua’ula wildfire, BISHOP ESTATE knew that high

 gusty winds posed an imminent threat and danger of wildfire to adjoining landowners

 and Lahaina residents caused by wildfire rapidly spreading over hundred of acres of

 dry and highly combustible vegetation and grasses growing and accumulating on their

 fallow agricultural lands in Lahaina, Maui.

       183. BISHOP ESTATE had a duty to prevent huge uncontrollable wildfires’

 spreading rapidly over hundreds of acres of highly combustible vegetation

 accumulating on their lands and to protect adjacent landowners and inhabitants,

 including landowners and inhabitants of Lahaina town, from being destroyed by


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 wildfire.

          184. In addition to, and coextensive with, their common law duties regarding

 the management of their property, BISHOP ESTATE were all times relevant,

 required to comply with HRS.§132-8, which requires all property owners to keep

 their premises “reasonably safe from loss of life or injury to persons or property by

 fire.”

          185. BISHOP ESTATE negligently failed to properly manage or clear the dry

 and highly combustible vegetation accumulating on their lands which was a

 substantial factor in causing the Lahaina wildfire to spread rapidly and destroy

 Lahaina town, including approximately 2,800 residences and buildings and displacing

 12,000 residents, including Plaintiffs and Class Plaintiffs.

          186. BISHOP ESTATE ’S failure to clear and/or manage the dry combustible

 vegetation accumulated on hundreds of acres of fallow agricultural lands was

 negligent, gross negligence, recklessness, and a violation of HRS §132-8, and was

 a substantial factor in causing the Plaintiffs and Class Plaintiffs to suffer damages and

 injury to persons including wrongful and forcible displacement, inconvenience, loss

 of use, severe mental anguish, depression, emotional distress, loss of enjoyment of

 life, loss of livelihood, and loss of past and future income.

                COUNT VI - NEGLIGENT TELCOM DEFENDANTS
          [Negligently Overloading Poles and Failure to Manage Vegetation]

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      (On Behalf of Plaintiffs and Class Plaintiffs Against the HAWAIIAN
                    TELCOM and SPECTRUM Defendants)

       187. Each of the HAWAIIAN TELCOM and SPECTRUM Defendants

 executed agreements with the HEI Defendants licensing their joint use of HEI ’s

 wood power poles on Maui.

       188. These agreements assign a joint duty between the HEI Defendants and

 each of the of the HAWAIIAN TELCOM and SPECTRUM Defendants to properly

 design, construct, install, use, inspect, repair, and adequately maintain their

 telecomunications lines and equipment attached to the HEI Defendants’ wood power

 poles, in a way that would not overload those poles and cause them to break, snap,

 and fail during a high-wind event.

       189. These agreements also specifically assign a joint duty between the HEI

 Defendants and each of the of the HAWAIIAN TELCOM and SPECTRUM

 Defendants to maintain vegetation near the power poles to mitigate the risk of

 wildfire in the event of a fault.

       190. In 2018, the HEI Defendants and each of the of the HAWAIIAN

 TELCOM and SPECTRUM Defendants sought and received approval from the

 Hawaii Public Utilities Commission to transfer ownership interest in jointly-owned

 poles to the HEI Defendants and for the HEI Defendants and each of the of the

 HAWAIIAN TELCOM and SPECTRUM Defendants to enter into a subsequent pole

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 licensing agreement.

       191. The HPUC approved pole licensing agreement between each of the of

 the HAWAIIAN TELCOM and SPECTRUM Defendants and the HEI Defendants

 includes a clause that states that each party has responsibility for maintenance of “its

 wires, cables, crossarms, fixtures and appurtenances on any jointly-occupied pole

 condition.” This assignment of responsibilities with respect to maintenance clearly

 creates a duty to avoid the overloading of power poles without adequate support.

       192. The HAWAIIAN TELCOM and SPECTRUM Defendants negligently

 overloaded the power poles near Ku’ialua Street and Ho’okahua Place, causing pole

 7A to break, and thereby cause energized power lines to fall into dry vegetation below

 and ignite the Lahaina wildfire.

       193. The HAWAIIAN TELCOM and SPECTRUM Defendants negligently

 failed to design and attach their equipment to HEI’s pole in a safe manner, pursuant

 to their pole licensing agreements with the HEI Defendants.

       194. The HAWAIIAN TELCOM and SPECTRUM Defendants’ pole

 licensing agreements also contain a “Vegetation Trimming Clause” Trimming”

 clause, which states that “[j]oint trimming of vegetation will be on a 50/50 basis and

 a contractor will trim whenever possible.”

       195. SPECTRUM’s January 2020 pole licensing agreement with the HEI


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 Defendants also provides that the “Companies will be responsible for and perform

 proactive and corrective Vegetation Management around electric cables and the

 Power Space on Utility Poles and the Lighting Space on Streetlight Poles.” This

 includes “[p]roactive and corrective Vegetation Management on and around the

 Poles” and “Corrective Vegetation Management in the Communications Space and

 around Licensee’s Communications Facilities when the Companies become aware of

 a condition that threatens the physical integrity of the Poles and/or. . . has the

 potential to impact public safety or reliable delivery of electric service.”

       196. The HEI Defendants and the HAWAIIAN TELCOM and SPECTRUM

 Defendants negligently failed to clear and maintain vegetation beneath and

 surrounding the power poles which was a substantial factor in causing the August 8,

 2023, Lahaina wildfire, and the Plaintiff’s and Class Plaintiffs’ damages and personal

 injuries, including wrongful and forcible displacement, inconvenience, loss of use,

 severe mental anguish, depression, emotional distress, loss of enjoyment of life, loss

 of livelihood, and loss of past and future income.

                            PRAYER FOR RELIEF

       Plaintiffs and Class Plaintiffs seek judgment against all Defendants, jointly and

 severally, for damages in amounts according to proof at trial and to other and further

 relief, as follows:


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        1.     Confirmation that this lawsuit is properly maintainable as a class action;.

        2.     Appointment of Plaintiffs as Class Representatives for Class Plaintiffs;

        3.     Appointment of counsel for Plaintiffs as Class Counsel for Class

 Plaintiffs;

        4.     Damages awarded to Plaintiffs and Class Plaintiffs for injury to persons

 including wrongful and forcible displacement, inconvenience, loss of use. relocation

 expenses, severe mental anguish, depression, emotional distress, loss of enjoyment

 of life, and loss of past and future income, according to proof at trial;

        5.     Attorney fees and costs;

        6.     Punitive damages;

        7.     Prejudgment and post judgment interest; and

        8.     Such other and further relief the Court may deem just and proper.

        DATED: Honolulu, Hawaii, August 3, 2024.


                                     /s/ Samuel P. King, Jr.
                            SAMUEL P. KING, JR.
                            ROY Y. YEMPUKU
                            RUSSEL MYRICK (Pro Hac Vice)
                            Attorneys for Plaintiffs, Individually, and in Their
                              Representative Capacities on Behalf of Class
                              Plaintiffs




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